Case 3:18-cv-02877-AJB-MSB Document 18-1 Filed 04/17/19 PageID.2497 Page 1 of 84



     1   DWIN LEGAL, APC
         Evan Dwin (SBN 241 027)
    2    2121 Palomar Airport Road, Suite 170
         Carlsbad, CA 920 11
     3
         Tel: (760) 536-6471
     4   Fax: (760) 585-4649
         Email: edwin@dwinlegal.com
     5
         Attorneys for Plaintiff
     6   KATHRYN KAILIKOLE
     7

     8

     9                     UNITED STATES DISTRICT COURT
   10                    SOUTHERN DISTRICT OF CALIFORNIA
    11
   12    KATHRYN KAILIKOLE, an                  Case No: 3:18-cv-02877-AJB-MSB
         individual,
    13                                          DECLARATION OF PLAINTIFF
                          Plaintiff,            KATHRYN KAILIKOLE IN
   14                                           SUPPORT OF OPPOSITION TO
   15
              v.                                DEFENDANT PALOMAR
                                                COMMUNITY COLLEGE
    16   PALOMARCOMMUNITY                       DISTRICT'S SPECIAL MOTION TO
         COLLEGE DISTRICT, a                    STRIKE PLAINTIFF'S FIRST
    17   governmental entity; and DOES 1        AMENDED COMPLAINT
         through 25, inclusive,
   18                                           DATE: June 20,2019
   19                     Defendants.           TIME: 2:00 p.m.
                                                PLACE: Courtroom 4A
   20

   21

   22
   23

   24

   25

   26
   27
   28
                                                1
         DECLARATION OF PLAINTIFF KATHRYN KAILIKOLE IN SUPPORT OF OPPOSITION
                                                      TO SPECIAL MOTION TO STRIKE
Case 3:18-cv-02877-AJB-MSB Document 18-1 Filed 04/17/19 PageID.2498 Page 2 of 84



     1         I, Kathryn Kailikole, hereby declare and state as follows:
     2         1.     I am over the age of eighteen and have personal knowledge of the
     3   matters contained herein.    If called as a witness, I could and would testify
     4   competently to the matters set forth in this Declaration. I make this Declaration in
     5   support of Plaintiffs Opposition to Defendant Palomar Community College
     6   District's Special Motion to Strike Plaintiffs First Amended Complaint.
     7         2.     On January 13, 2016, I was hired as Interim Dean of the
     8   Mathematics and the Natural and Health Sciences Division ("MNHS") at Palomar
     9   College. Attached hereto as Exhibit 1 is a true and correct copy of my
   10    Employment Contract for the position Interim Dean, Instructional, of the MNHS
    11   Division, dated January 13, 2016.
   12          3.     On April28, 2017, my supervisor at the time, Daniel Sourbeer
   13    ("Sourbeer"), Vice-President of Instruction, gave me a superlative performance
   14    review. Attached hereto as Exhibit 2 is a true and correct copy of the review by
   15    Sourbeer. In the review, among other things, Sourbeer states that I am an
   16    "excellent communicator," that my "grant writing and management" are
   17    "superior," that I am "a fierce advocate for students" and that I have an "excellent
   18    understanding of budgets and how to use them."
   19          4.     As a result of my excellent performance as Interim Dean, the District
   20    promoted me to Dean of the MNHS Division. Attached hereto as Exhibit 3 is a
   21    true and correct copy of my Employment Contract for the position of Dean of the
   22    MNHS Division.
   23          5.     As an academic dean, I was responsible for administering the
   24    instructional program in my division. I was not a compliance or human resources
   25    officer. There are separate departments, such as the Equal Opportunity and
   26    Compliance Office ("EEO Office") and Human Resources, that enforce
   27    compliance with anti-discrimination laws.
   28
                                                  2
         DECLARATION OF PLAINTIFF KATHRYN KAILIKOLE IN SUPPORT OF OPPOSITION
                                                TO SPECIAL MOTION TO STRIKE
Case 3:18-cv-02877-AJB-MSB Document 18-1 Filed 04/17/19 PageID.2499 Page 3 of 84



     1          6.    On May 8, 2017, I was in a meeting and started to feel like I was
     2   suffering from a heart attack. I immediately went to urgent care for treatment
     3   where it was determined that I suffered a panic attack. I was diagnosed with
     4   anxiety which causes me to suffer feelings of being overwhelmed, helpless and
     5   nervous as well as dizziness, vertigo and insomnia. My anxiety and its symptoms
     6   make it more difficult for me to engage in mental, physical and social activities as
     7   well as working. Attached hereto as Exhibit 4 is a true and correct copy of my
     8   Medical Report and Diagnosis dated May 8, 2017 and records from follow-up
     9   appointments.
    10          7.    In May of2017, a professor in the Physics and Engineering
    11   Department, Dr. Daniel Finkenthal ("Finkenthal"), reported to me that a student
    12   complained about materials posted in labs used by Professors Takashi Nakajima
    13   ("Nakajima") and Arthur Gerwig ("Gerwig"). On behalf of the students, I
    14   reported the postings to Shawna Cohen, the Manager ofEEO and Deputy Title IX
    15   Coordinator. The postings included:
    16      •   A recitation of a mnemonic device stating: "Black Boys Rape Our Young
    17          Girls But Violet Gives Willingly Get Some Now."
    18      •   A posting entitled "Vogue May Edition" portraying a student lying on the
    19          hood of a pickup truck holding a drawing of a penis.
   20       •   A posting portraying a Iatino student named Juan which stated "2017 you
   21           know youjuant me?!Hello Ladies" as a racist play on Juan's name.
   22       •   A sexually harassing and racist posting which stated "Dick got her like"
   23           which was accompanied by a hashtag remark of "#black cock slut."
   24           8.    I reported the sexist and racist postings to the EEO and Title IX Office
   25    because it is that department's responsibility to investigate discrimination and
   26    ensure compliance with anti-discrimination laws and policies. I made the report to
   27    complain about the racist and sexist conduct taking place in the lab and to advocate
   28
                                                  3
         DECLARATION OF PLAINTIFF KATHRYN KAILIKOLE IN SUPPORT OF OPPOSITION
                                                TO SPECIAL MOTION TO STRIKE
Case 3:18-cv-02877-AJB-MSB Document 18-1 Filed 04/17/19 PageID.2500 Page 4 of 84



     1   for students, staff and faculty. I hoped that the District would investigate and take
     2   appropriate action to ensure an academic environment free from discrimination and
     3   harassment.
     4         9.      On June 28, 2017, the Title IX Office began an investigation of my
     5   complaint about the racist and sexist postings in Nakajima and Gerwig's lab. I was
     6   interviewed as a witness in the investigation, which was conducted by an outside
     7   attorney, Jeffrey Love ("Love"). The investigation was still pending when the
     8   school year began in late August of 2017.
     9         10.     On November 1, 2017, nearly five months after I initially complained
    10   about the racist and sexist postings in the physics lab, the District concluded its
    11   investigation. The District found that Nakajima and Gerwig displayed the racist
    12   and sexist postings themselves or that they allowed or even encouraged others to
    13   do so. I was extremely alarmed by the District's findings and was concerned for
    14   the safety and well-being of students, faculty and staff who interact with Nakajima
    15   and Gerwig and especially female and minority students who take classes with
    16   Nakajima and Gerwig. Attached hereto as Exhibit 5 is a copy a Confidential
    17   Summary of Investigation Report dated November 1, 2017 regarding the
    18   investigation of Nakajima and Gerwig.
    19         11.     After the District determined that Nakajima and Gerwig were
   20    responsible for the racist and sexually explicit postings, I approached Dr. Lisa
   21    Norman ("Norman"), the Assistant Superintendent/Vice-President of Human
   22    Resources and suggested the District should terminate Nakajima and Gerwig.
   23    Norman refused to pursue terminating Nakajima and Gerwig, claiming that the
   24    offense did not merit harming their careers and livelihood. I was shocked by
   25    Norman's indifference to the severity of Nakajima and Gerwig's conduct and was
   26    equally shocked by her desire to protect them.
   27          12.     On or about November 27, 2017, Finkenthal informed me of
   28
                                                  4
         DECLARATION OF PLAINTIFF KATHRYN KAILIKOLE IN SUPPORT OF OPPOSITION
                                                TO SPECIAL MOTION TO STRIKE
Case 3:18-cv-02877-AJB-MSB Document 18-1 Filed 04/17/19 PageID.2501 Page 5 of 84



     1   complaints about Nakajima's and Gerwig's classroom practices, which I forwarded
     2   to Norman. Given Nakajima and Gerwig's history, including their discriminatory
     3   and harassing postings in the lab, I requested that Nakajima and Gerwig be removed
     4   from the classroom. Norman refused to take any action, but "highly recommended"
     5   that Finkenthal and I "observe" Nakajima and Gerwig.
     6         13.    The District cut off my access to my e-mails on or about December
     7   14, 2017. However, in support of its special motion to strike, the District included
     8   copies of the November 27,2017 e-mail exchange in which Norman requested that
     9   I involve Finkenthal in observing Nakajima and Gerwig. For reference, attached
    10   hereto as Exhibit 6 copy of pages 248-252 to Exhibit A to Dr. Kahn's declaration.
    11   Starting near the bottom of the first page of Exhibit 6 is a copy the e-mail chain
    12   wherein Norman refused to take any action on my request to remove Nakajima and
    13   Gerwig from the classroom and recommended that I enlist Finkenthal in observing
    14   Nakajima and Gerwig.
    15         14.     In December 2017, consistent with Norman's directive and
    16   Finkenthal's role as Department Chair, I forwarded Finkenthal an e-mail from
    17   around April 2016 regarding a report from a student that Nakajima was using an
    18   airsoft gun in an unsafe manner as part of a lab.
    19         15.    When the airsoft incident occurred in April 20 16, two students came
   20    to my office to report it but I was in a meeting so they spoke to my assistant, Debbie
   21    McBrayer. Ms. McBrayer called the Campus Police. When I arrived at the office,
   22    Ms. McBrayer was upset because she felt that her report was not taken seriously. I
   23    then called the Police and insisted that they come back to my office, at which point
   24    I provided them with a copy of a policy restricting the use of firearms in the
   25    classroom. The Police were responsive to my concerns and conducted a further
   26    investigation. The Police determined that Nakajima should have obtained approval
   27    from the police before using of the gun. In addition to requesting that the Campus
   28
                                                   5
         DECLARATION OF PLAINTIFF KATHRYN KAILIKOLE IN SUPPORT OF OPPOSITION
                                                TO SPECIAL MOTION TO STRIKE
Case 3:18-cv-02877-AJB-MSB Document 18-1 Filed 04/17/19 PageID.2502 Page 6 of 84



     1   Police investigate the matter and providing the Police with the applicable firearm
     2   policy, I also reported the incident to Sourbeer, who was my supervisor at the time.
     3   The Police determined that the use of the gun should have been approved by the
     4   Chief of Police. Accordingly, I instructed Nakajima to stop using the gun. He
     5   agreed and I received no more complaints or reports about anyone using a gun in
     6   any classroom or lab. The District attached the Police Report from the airsoft gun
     7   incident to Dr. Kahn's Declaration in support of its special motion to strike. For
     8   reference, I have attached the same to this Declaration as Exhibit 7.
     9          16.   The reason that I forwarded the e-mail about the gun incident to
    10   Finkenthal in December of 2017 was so Finkenthal could confirm that Nakajima
    11   followed the prior directive not to use the airsoft gun. In fact, after Norman directed
    12   me to enlist Finkenthal in observing Nakajima and Gerwig, I contacted Finkenthal
    13   to tell him about the airsoft gun incident and to make sure it was not being used
    14   any more. Finkenthal said he did not think a gun was being used and requested
    15   further information so he could check on it. Accordingly, I forwarded him the e-
   16    mail about the incident. There was nothing improper about me providing this
   17    information to Finkenthal, who was the Chair of the Department, particularly when
   18    Norman had just instructed me to enlist Finkenthal in observing Nakajima and
   19    Gerwig's practices in the classroom.
   20           17.   On or about December 4, 2017, I met with my supervisor, Dr. Jack
   21    Kahn ("Kahn"). I discussed my anxiety with Khan and expressed concern about
   22    my overwhelming workload, which included duties that are not part of a dean's
   23    job.   I told Kahn about my anxiety because I was seeking an appropriate
   24    accommodation. Kahn assured me that I was a valued member of the team and that
   25    he would provide me with whatever support I needed and that he looked forward
   26    to continuing to work with me. Kahn also confirmed that he was aware of my
   27    "medical concerns." At no point in that meeting did Kahn mention that he was
   28
                                                   6
         DECLARATION OF PLAINTIFF KATHRYN KAILIKOLE IN SUPPORT OF OPPOSITION
                                                TO SPECIAL MOTION TO STRIKE
Case 3:18-cv-02877-AJB-MSB Document 18-1 Filed 04/17/19 PageID.2503 Page 7 of 84



     1   considering any discipline against me for any reason and he certainly did not
     2   mention that I might be terminated.
     3           18.   On December 12,2017, despite the finding that they engaged in gross
     4   acts of discrimination and harassment in the classroom, the District placed
     5   Nakajima and Gerwig on unpaid leave for only one month.
     6           19.   On December 14, 2017 the District suddenly placed me on paid leave.
     7   I was escorted out of my office, cut off from my e-mail account and instructed not
     8   to speak with anyone at the College. I was extremely confused and shocked by this
     9   action by the District. I requested to know why I was being placed on leave, but
    10   the District refused to provide me with an explanation except that there was a
    11   purported "breach of confidential information." I had no idea why I was accused
    12   of breaching any purported confidentiality obligations and I have never breached
    13   any confidentiality obligations. Attached hereto as Exhibit 8 is a true and correct
    14   copy of the memorandum the District sent me on December 14, 2017 advising me
    15   that I was being placed on leave.
    16           20.   On February 22,2018, the District sent me a letter acknowledging that
    17   my counsel indicated to it that I believed the decision to place me on leave was in
    18   retaliation for reporting Nakajima's and Gerwig's harassing and discriminatory
    19   conduct in the lab. The letter advised me of my right to either file a formal
   20    complaint with the District or to pursue my claims with the DFEH or EEOC. The
   21    letter also advised me that "District policy and applicable law prohibit retaliation
   22    against any employee for filing a complaint of unlawful discrimination/harassment
   23    and/or for participating in any manner in an investigation thereof." Attached hereto
   24    as Exhibit 9 is a true and correct copy of the District's Letter dated February 22,
   25    2018.
   26            21.   Four days later, on February 26, 2018, the District notified me that the
   27    Board was considering non-renewing my contract. Attached hereto as Exhibit 10
   28
                                                   7
         DECLARATION OF PLAINTIFF KATHRYN KAILIKOLE IN SUPPORT OF OPPOSITION
                                                TO SPECIAL MOTION TO STRIKE
Case 3:18-cv-02877-AJB-MSB Document 18-1 Filed 04/17/19 PageID.2504 Page 8 of 84



     1   is a true and correct copy of the Notice of Proposed Non-Renewal dated February
    2    26,2018. The next day, the District decided, in a closed meeting, to non-renew my
     3   contract which it later announced in an open meeting. The District did not provide
     4   any reason or explanation for non-renewing my contract. Attached as Exhibit 11
     5   is a true and correct copy of the Notice ofNon-Renewal dated February 28, 2018
     6           22.   The day after my contract was non-renewed, I was interviewed by
     7   Love.    The District did not provide me with any documents or information
     8   regarding the investigation before my interview with Love.
     9           23.    Love interviewed me about, among other things, the incident in
    10   April2016 where Nakajima used an airsoft gun in the classroom. I also confirmed
    11   that I forwarded an e-mail about the incident to Finkenthal, which was entirely
    12   proper. Love asked me whether I ever agreed with Finkenthal to forward the
    13   information about the airsoft gun incident to his wife or the District Board. I did
    14   not ever agree with Finkenthal that he should forward any e-mail about the gun
    15   incident, or any other e-mail or information, to anyone. Accordingly, I informed
    16   Love that I never made any such agreement with Finkenthal and that Finkenthal
    17   never indicated to me that he planned to share the information with anyone. I am
    18   aware that the District claims that Finkenthallater forwarded the e-mail about the
    19   gun incident to his wife. I had no idea that Finkenthal forwarded any of my e-mails
   20    to his wife and I certainly did not ask him to do so.
   21            24.   On March 4, 2018, I was informed that Kahn told faculty members
   22    that I was not returning. I found this strange because the purported investigation
   23    of me was still pending and I had not been informed that any discipline against me
   24    was in any way being considered. It also seemed odd that I was placed on
   25    administrative leave pending an investigation of a purported "confidentiality issue"
    26   after the District refused to place Nakajima and Gerwig on leave while they were
    27   being investigated for making racist and sexist postings in the physics lab.
    28
                                                   8
         DECLARATION OF PLAINTIFF KATHRYN KAILIKOLE IN SUPPORT OF OPPOSITION
                                                TO SPECIAL MOTION TO STRIKE
Case 3:18-cv-02877-AJB-MSB Document 18-1 Filed 04/17/19 PageID.2505 Page 9 of 84



    1         25.    On May 2, 2018, I was informed through a Notice of Recommended
    2   Termination that Dr. Kahn recommended my termination.              The Notice of
    3   Recommended Termination included an Investigative Report by Love, a number
    4   of e-mails, and letters sent to me by Dr. Kahn. The District contends in its special
    5   motion to strike that the e-mails and letters attached to the Notice ofRecommended
    6   Termination relate to purported issues with my job performance. These alleged e-
    7   mails and letters were not discussed with me as a potential ground for discipline
    8   prior me receiving the May 2, 2018 Notice of Recommended Termination. Further,
    9   the District never told that it considered any alleged performance issues when it
   10   decided to place me on paid leave and non-renew my contract.
   11         26.    On June 13, 2018, the District terminated my employment.
   12         I declare under penalty of perjury under the laws of the United States of
   13   America and California that the foregoing is true and correct.
   14         Executed this 16th day of April 2019 in Carlsbad, California.
   15

   16

   17

   18

   19

   20

   21

   22
   23

   24

   25

   26
   27

   28
                                                 9
        DECLARATION OF PLAINTIFF KATHRYN KAILIKOLE IN SUPPORT OF OPPOSITION
                                               TO SPECIAL MOTION TO STRIKE
Case 3:18-cv-02877-AJB-MSB Document 18-1 Filed 04/17/19 PageID.2506 Page 10 of 84



     1                            INDEX OF EXHIBITS
     2
     3   Ex.       Pages     Descriution
     4   1         1-9       Employment Contract for the position Interim Dean,
     5                       Instructional, of the MNHS Division, dated January 13,
     6                       2016.
     7   2         10-17     Palomar College District Administrative Employee's
     8                       Evaluation Form dated April 28, 2017.
     9   3         18-25     Employment Contract for the position of Dean of the
    10                       MNHS Division dated April2017.
    11   4         26-37     Medical Report and Diagnosis dated May 8, 2017 and
    12                       records from follow up appointments.
    13   5         38-51     Confidential Summary of Investigative Report dated
    14                       November 1, 2017.
    15   6         52-57     Documents including November 27, 2017 e-mail chain
    16                       including an e-mail from Dr. Daniel Finkenthal to Dr.
    17                       Kathryn Kailikole, an e-mail from Dr. Kathryn Kailikole
    18                       to Dr. Lisa Norman and Dr. Jack Kahn and an e-mail
    19                       from Dr. Lisa Norman to Dr. Kathryn Kailikole.
    20   7         58-65     Palomar College Police Department Report dated April
    21                       21, 2016.
    22   8         66-67     District Memorandum dated December 14, 2017.
    23   9         68-70     Letter from the District dated February 22, 2018.
    24   10        71-72     Notice of Proposed Non-Renewal dated February 28,
    25                       2018.
    26   11        73-74     Notice ofNon-Renewal Dated February 28, 2018.
    27
    28                                       10
         DECLARATION OF PLAINTIFF KATHRYN KAILIKOLE IN SUPPORT OF OPPOSITION
                                                TO SPECIAL MOTION TO STRIKE
Case 3:18-cv-02877-AJB-MSB Document 18-1 Filed 04/17/19 PageID.2507 Page 11 of 84




                           EXHIBIT 1
Case 3:18-cv-02877-AJB-MSB Document 18-1 Filed 04/17/19 PageID.2508 Page 12 of 84




                               PALOMAR COMMUNITY COLLEGE DISTRICT
                               INTERIM EDUCATIONAL ADMINISTRATOR,
                                          EMPLOYMENT CONTRACT

       This employment centrad (hereinafter referred to as the "Agreement") is made and entered into
       this 13"' day January of by and between the Governing Board of the Palomar Community College
       District (hereinafter referred to as the "Boardlt and ..Districtj and Kathryn Kailikole (hereinafter
       referred to as the "Employee~~).

       WHEREAS it is the desire of the Board to employ Employee in the Position of Interim Dean,
       Instructional, Mathematics and the Natural and Health Sciences(hereinafter referred to as
       "Position•).

       NOW, THEREFORE, the parties mutually agree as follows:

       1.           EMPLOYMENT. The Board hereby offers to employ Employee in the above identified
                    Position on the conditions contained in this Agreement. Employee is a member of the
                    Administrative Team as described in the Administrative Team Handbook adopted by the
                    Board, an academic employee as defined by Education Code section 87001(a). an
                    educational administrator as defined in Education Code section 87002(b). and a
                    management employee as defined by Government Code section 3540.1 (g). The
                    Employee and the Board agree that this Agreement is not binding or enforceable unless
                    it is ratified by the Board In open session at a regular meeting of the Board.

       2.          STATUTORY AUTHORIZATION AND EXTENSION. This Agreement Is a contract of
                   employment entered into pursuant to Education Code section 72411(d). Employee
                   understands upon Employee·s execution of this Agreement and its adoption by the Board,
                   this Agreement is an assignment to an acting Position, and Employee shall have no
                   continuing rrghts to the Position unless Employee is selected for the Position on a regular
                   basis in an open recruitment. or unless the term of agreement is extended for up to an
                   additional one (1) year and six (6) months term by mutual agreement Employee further
                   understands that Position tenninates upon the expiration of this Agreement unless or as
                   extended, provided that Employee is not terminated for cause and/or material and
                   substantial breach of this Agreement as such terms are defined In paragraph 13 herein.

       3.          TERM. The tenn of this Agreement will begin on January 13, 2016. and continues
                   through and including June 30,2016. Employee shall be required to render full and regular
                   service to the District during the period covered by this Agreement. This Agreement shall
                   be renewable or extended only by mutual, written agreement of the parties as set forth in
                   paragraph 2 above. In no event shall this Agreement be interpreted in any way to
                   authorize a renewal or extension of this Agreement for an additional term of more than
                   one (1) year and six (6) months pursuant to Title 5, California Code of Regulations
                   section 53021(c)(7). Employee further understands that Position terminates when the
                   Position is filled on a permanent basis or upon the expiration of this Agreement, unless it
                   is extended or the Employee is terminated for cause and/or material and substantial
                   breach of this Agreement as such terms are defined in paragraph 13 herein.


       ~Cill.-Ol.f719.0001
       IISK306S .1 allii6'1S




                                                                                                                 Exhibit I
                                                                                                                 P. I
Case 3:18-cv-02877-AJB-MSB Document 18-1 Filed 04/17/19 PageID.2509 Page 13 of 84




        4.          SALARY. Employee shall be compensated in accordance with the Administrative Salary
                    Schedule as established, approved and revised from time to time by the Board. at Salary
                    Grade 75/2, plus an administrative doctoral stipend from January 13. 2016 through
                    June 30, 2016. The Board reserves the right to increase or decrease the schedule
                    including across the board salary reduction or furloughs on the same basis and for the
                    same time as faculty bargaining unit reductions. Any actions to modify the salary schedule
                    shall not be interpreted as a new Agreement for employment or renewal or extension of
                    this Agreement. The Board reserves the right to increase the Employee's salary.
                    However, any action to increase the salary of the Employee shall not be interpreted as a
                    new Agreement for employment or a renewal or extension of this Agreement.

       5.           DUTIES. Employee will perform the duties of the above Position as set forth in any
                    Position description adopted by the Board, and all other duties as shall be assigned or
                    required by the Superintendent/President, or designee, provided that such additional
                    duties shall be consistent with Employee's Position. The Board may adopt or amend the
                    Position description for the Employee's Position at any time as long as the modifications
                    are not inconsistent with the terms of the Agreement. The Board reserves the right to
                    reassign the Employee at any time during the term of this Agreement to another
                    educational or student services administrative Position within the District. Reassignment
                    during the term of this Agreement solely for discretionary reasons will not result in a
                    reduction of the Employee's compensation during the term of this Agreement.
                    Reassignment will be made in compliance with the California Education Code and the
                    Administrative Handbook.

       6.           EXCLUSION FROM OVERTIME PROVISIONS. Employee shall be exempt from the
                    minimum wage and overtime provisions of the Fair Labor Standards Act and the California
                    Education Code. and shall not be entitled to compensatory time off.

       7.          VACATION AND SICK LEAVE. Employee is entitled to accrue twenty-four (24) working
                   days of vacation annually in accordance with the Administrative Vacation Policy set forth
                   In the Administrative Team Handbook as adopted by the Board. Vacation days are
                   exclusive of holidays otherwise granted to twelve (12) month regular administrative
                   employees of the District. Employee is entitled to accrue twelve (12) days of paid sick
                   leave for illness or injury. Employee is eligible for any leaves authorized by law or provided
                   in the Administrative Association Handbook as adopted by the Board

       8.          FRINGE BENEFITS. Employee shall be afforded all fringe benefits of employment which
                   are provided to the District's regular educational and student services administrators for
                   which they are eligible under the terms of the Administrative Team Handbook.

       9.          TRAVEL. Reasonable and necessary transportation and travel expenses will be provided
                   In accordance with policies duly adopted by the Board.

       10.         SERVICE CLUBS AND COMMUNITY ORGANIZATIONS.                     The Board authorizes
                   payment of dues and meals for meetings of one service or community organization. Funds


       ::!61,\'0:!4719~001
       8$83065.1 .OI.o.&116                                 -2-                        Kallikole, Kathryn 1.12.16




                                                                                                                    Exhibit I
                                                                                                                    P.2
Case 3:18-cv-02877-AJB-MSB Document 18-1 Filed 04/17/19 PageID.2510 Page 14 of 84




                  shall be allocated to the appropriate expense accounts in the annual budget approved by
                  the Governing Board.

        11.       APPUCABLE LAW. This Agreement Is subject to all applicable laws of the State of
                  California, the rules and regulations of the State Board of Governors, and the rules.
                  regulations. and policies of the Board, all of which are made a part of the tenns and
                  conditions of this Agreement as though set forth herein, to the extent that such terms are
                  not inconsistent with the lawful terms of this Agreement.

       12.        MAXIMUM CASH SETTLEMENT UPON TERMINATION OF THIS AGREEMENT
                  WITHOUT CAUSE. Regardless of the term of this Agreement, the Board may terminate
                  this Agreement at any time prior to the date on which the term of this Agreement would
                  have otherwise expired, without cause. In such an event, the maximum cash settlement
                  that the Employee shall receive will be an amount equal to the monthly base salary of the
                  Employee multiplied by the number of months remaining on the unexpired term of this
                  Agreement minus any amount(s) that could have been eamed if the Employee has retreat
                  rights, and an instructional Position is offered for the balance of the term of this Agreement.
                  Any cash settlement shall not include any other noncash items except health benefits.
                  which may be continued for the same duration of time as covered in the settlement, or
                  until Employee finds other employment, whichever occurs first. The intent of this provision
                  is to satisfy the requirements of Govemment Code sections 53260-53264, and this
                  provision shall be interpreted in a manner consistent with those statutes.

                 The District agrees to pay Employee the lump sum cash payment ("Severance Pay.,), less
                 legally required for authorized deductions except contributions to CaiSTRS, within
                 fifteen (15) days of the effective date of tenninatton.

                 In exchange for and as a condition to receipt of the Severance Pay, Employee shall
                 execute a release and waiver, in a form acceptable to the legal counsel for the District,
                 releasing the District, and all of its elected officers, employees, agents, representations,
                 and attorneys, from any claim associated with the termination.

       13.       TERMINAnON OF THIS AGREEMENT DURING ITS TERM WITH CAUSE. The Board
                 may terminate this Agreement during its term and discharge Employee if Employee
                 commits a material and substantial breach of this Agreement and/or for cause. Such
                 breach of Agreement and discharge shall nullify the terms of this Agreement and
                 Employee shall cease to receive any form of compensation upon the effective date of
                 termination. The term "cause" is defined as those actions, omissions. or behaviors which
                 are detrimental to the operations of the District and/or its major instructional, student and
                 administrative divisions, or which impair the District's mission, purpose, or objectives.
                 Conduct which constitutes a breach of contract and cause for discharge, includes, but is
                 not limited to: unsatisfactory work performance, dishonesty, misconduct, unprofessional
                 conduct, or insubordination. Disciplinary actions. up to and including discharge from
                 employment, shall be carried out in compliance with the disciplinary provisions applicable



       l62l-OJ47JQ.OOOJ
       8583065.1 a01:1WJ6                                 -3-                         Kaifikole, Kathryn 1.12.16




                                                                                                                    Exhibit I
                                                                                                                    P.3
Case 3:18-cv-02877-AJB-MSB Document 18-1 Filed 04/17/19 PageID.2511 Page 15 of 84




                     to administrative employees as set forth in the Administrative Team Handbook as adopted
                     by the Board.

        14.          PROVISIONS OF GOVERNMENT CODE SECTIONS 53243.3-53243.4.

                     (a)        In the event that the District provides paid leave to Employee pending an
                                investigation of a crime involving abuse of his office or position covered by
                                Government Code section 53243.4. and should that investigation lead to a
                                conviction. the Employee shall fully reimburse District for any salary provided for
                                that purpose.

                    {b)         In the event that the District provides funds for the legal criminal defense of
                                Employee pending an investigation of a crime Involving an abuse of his office or
                                position covered by Government Code section 53243.4. and should that
                                investigation lead to a conviction. the Employee shall fully reimburse the District
                                for any funds provided for that purpose.

                    (c)         In the event that the District provides a cash settlement related to the termination
                                of Employee as defined in the terms of this Agreement and Employee
                                subsequently is convicted of a crime involving abuse of office or position covered
                                by Government Code section 53243.4, Employee shall fully reimburse the District
                                for any funds provided for that purpose.

                    (d)         "Abuse of office or position,. is defined in Government Code section 53243.4 to
                                mean either of the following:

                                (i)    An abuse of public authority, including. but not limited to, waste. fraud, and
                                       violation of the law under color of authority.

                                (ii)   A crime against public justice, including, but not limited to, a crime
                                       described in Title 5 (commencing with Section 67). Title 6 (commencing
                                       with Section 85) or Title 7 (commencing with Section 92) of Part 1 of the
                                       Penal Code.

       15.         MODIFICATION OF CONTRACT. This Agreement may be modified by mutual consent
                   of the parties provided, however. that the party seeking such change shall give not less
                   than 45 (forty-fave) calendar days, written notice to the other party of the requested
                   modification.

       16.         RESIGNATION. Employee may resign from employment at any time during the term of
                   this Agreement upon ninety (90) days prior written notice to the Board or upon a shorter
                   period of time if approved by the Board.

       17.         SAVINGS CLAUSE. If any provision of this Agreement Is held to be contrary to law by a
                   court of competent jurisdiction, such provision shall not be deemed valid or binding except




       l6l3-0l471'MOOI
       IS8JO(,S.I aO 1.1)4•16                                   -4-                        Kailikole, Kathryn 1.12.16




                                                                                                                        Exhibit 1
                                                                                                                        P.4
Case 3:18-cv-02877-AJB-MSB Document 18-1 Filed 04/17/19 PageID.2512 Page 16 of 84




                     to the extent permitted by law, but all other provisions shall continue to remain in full force
                     and effect.

        18.         ENnRE AGREEMENT. This Agreement contains and expresses the entire and final
                    agreement of the parties with respect to the matters covered herein. and supersedes all
                    negotiations, prior discussions, prior agreements and preliminary agreements between
                    the parties. No promises or representations, express or implied, concerning this
                    Agreement have been made by the parties other than those contained in this Agreement
                    concerning the offer and acceptance of employment described herein.

        19.         NO CONTINUING WAIVER. No waiver of any term or condition of this Agreement by
                    either party shall be deemed a continuing waiver of such term and condition.

       20.          GOVERNING LAW. This Agreement is delivered in the State of California, concerns
                    employment In the State of California, and the rights and obligations of the parties hereto
                    shall be construed and enforced in accordance with the laws of the State of California.

       21.          MISCELLANEOUS PROVISIONS. This Agreement and applicable provisions of the
                    Administrative Team Handbook contain the entire agreement and understanding between
                    the parties. There are no oral understandings, or terms and conditions not contained or
                    referenced in this Agreement. This Agreement cannot be changed orally. It may be
                    modified in writing by mutual agreement of the parties as set forth above. This Agreement
                    supersedes all Board Policies, rules. regulations, handbooks or practices which are
                    inconsistent with or in conflict with this Agreement




       l6U·0247t<I.OOOI
       8S8l06S.I :a01/0ol'l6                                                             Kalllkole, Kathryn 1.12.16




                                                                                                                       Exhibit I
                                                                                                                       P.5
Case 3:18-cv-02877-AJB-MSB Document 18-1 Filed 04/17/19 PageID.2513 Page 17 of 84




                                  ACCEPTANCE OF INTERIM EDUCATIONAL ADMINISTATOR
                                                       EMPLOYMENT CONTRACT

       I have reviewed this Interim Educational Administrator Employment Contract. and I accept this
       Agreement and the terms and conditions of employment it contains. I have not agreed to
       employment and/or contracted for employment with the governing board of any other school.
       university. college. or community college district which will in any way conflict with the satisfactory
       performance of all of the duties of the Position for which employed.


                     Please return signed contract to Human Resource Services as soon as possible.



       Date:        1-1.3 -zol~


       Approved by the Governing Board of Palomar Community College District in open session at
       regular Board meeting.



       Date:.__         z....,,,_/_z.....&./_t_~_ __                By:
                                                                          Adrian Gonzales, Secretary to the
                                                                          Governing Board

       Copy: Employee




       l6l3:ol..., lq.()(l()J
       R5Hl0C.51 a01·'04•16                                   -6-                      Kalllkole, Kathryn 1.12.16




                                                                                                                    Exhibit 1
                                                                                                                    P.6
Case 3:18-cv-02877-AJB-MSB Document 18-1 Filed 04/17/19 PageID.2514 Page 18 of 84




                                                                                            EXHIBIT J-7



                                  PALOMAR COMMUNITY COLLEGE DISTRICT
                                   INTERIM EDUCATIONAL ADMINISTRATOR
                               FIRST AMENDMENT TO EMPLOYMENT CONTRACT


       This First Amendment to Employment Contract (hereinafter referred to as the ·•first Amendmenf")
       is made and entered into this tenth day of May, 2016 of by and between the Governing Board of
       the Palomar Community College District (hereinafter referred to as the "'Board"' and ·'District"')
       and Kathryn Kailikole (hereinafter referred to as the ·'Employee...).

       WHEREAS, Board and Employee entered into an initial employment contract ("'Original
       Agreement'") with a term of January 13,2016 through and including June 30, 2016; and

       WHEREAS, it is the desire of the Board to continue to employ Employee jn the Position of
       Interim Dean, Instructional, Mathematics and the Natural and Health Sciences (hereinafter
       referred to as '"Position"").

       NOW, THEREFORE, the parties mutually agree as follows:

       1.          TERM. The term of this First Amendment shall begin on July 1, 2016, and continue
                   through and including June 30, 2017 .

       .2.         SALARY. Employee shall be compensated in accordance with the Administrative Salary
                   Schedule established and approved by the Board, at step 3 of salary grade 75, plus a
                   $114.23 monthly doctoral stipend for earned doctorate.

       3.          NO CHANGES TO OTHER TERMS AND CONDITIONS. All other tenns and
                   conditions ofEmployee"s Original Agreement remain in full force and effect for the term
                   of this First Amendment, unless otherwise tenninated or modified in accordanace with the
                   tenns of the Original Agreement.




       :!62)1()24719-0001
       9616$02.1 taOSIU.\116                                                       Kaillkole, Kathryn 5.10.16




                                                                                                                Exhibit I
                                                                                                                P. 7
Case 3:18-cv-02877-AJB-MSB Document 18-1 Filed 04/17/19 PageID.2515 Page 19 of 84




                                           ACCEPTANCE OF
                                 INTERIM EDUCATIONAL ADMINISTRATOR
                              FIRST AMENDMENT TO El\1PLOYMENT CONTRACT


       I have reviewed this First Amendment to Employment Contract, and I accept this First Amendment
       and the tenns and conditions of employment it contains. 1have not agreed to employment and/or
       contracted for employment with the governing board of any other school, university, college, or
       conununity college district which will in any way conflict with the satisfactory performance of all
       of the duties of the Position for which employed.


                       Please return signed contract to Human Resource Services as soon as possible.


       Date:       &5/2.o /2.o11e



       Approved by the Governing Board of Palomar Community College District in open session at
       regular Board tneeting.


       Date: ___~....../_~_1 -'-/_t.t,___                       By:
                                                                       Adrian Gonzales, Secretary to
                                                                       the Governing Board


       Copy: Employee




       2o:l·'02o&7J9.0001
       9616SOl.l .05103'16                                                           Kailikole. Kathryn 5.10.16




                                                                                                                  Exhibit 1
                                                                                                                  P.8
Case 3:18-cv-02877-AJB-MSB Document 18-1 Filed 04/17/19 PageID.2516 Page 20 of 84




                           EXHIBIT2
Case 3:18-cv-02877-AJB-MSB Document 18-1 Filed 04/17/19 PageID.2517 Page 21 of 84




                                    PALOMAR COLLEGE DISTRICT
                            ADMINISTRAnYE EMPLOYEE'S EVALUA110N FORM

                           EVALUATION PERIOD: From April27 2016 TO April 26 2017


       Employee                                        Department
       Kathryn Kailikole                               Mathematics and the Natural and Health
                                                       Sciences
                                                                                            ,....,
                                                                                                ~
                                                                                                     "·
      Title                                            Evaluator
                                                                                             .-;,.., ..,
                                                                                             --J
                                                                                             ~
      Interim Dean                                     Daniel Sourbeer                           .--..;


                                                                                                 -
                                                                                                 "'l



      COMPONENT A:   REVIEW OF PERSONAL GOALS AND OBJECTIVES FOR                                  ~E·~··
      EVALUAnON PERIOD (PLEASE ADD ADDMONAL PAGES IF NEEDED)                                      ~       ·~·
                                                                                                          ;,.   .
          GOAL/OBJECTIVE                              STATUS AS OF REVIEW DATE           co
                                                   I have familiarized myself with each of
      Learn about each deparbnent in the           the deparbnents but feel that I need to
      MNHS Division:                               spend more time with each deparbnent
                                                   to fully understand how ~work with
                                                   them.
                                                   I feel that I understand the course
         a) Department course offerings and        offerings and scheduling practices but
             scheduling practices                  am still trying to understand the history
                                                   that sometimes seems to be driving the
                                                   scheduling practices.
                                                   I believe I have a good understanding
         b) Understand department needs and of most of the deparbnents' needs and
             limitations                           limitations. I have yet to learn CSIS
                                                   departmental needs and limitations.
                                                   The Title Ill grant was completed on
      Finish last year of Title III HSI Grant:     time September 1, 2016
                                                   The STEM CTE Summer Academy was
         a) Implement STEM CTE Summer              implemented with 20 high school
             Academy                               students and 2 Palomar college
                                                   students. The 2017 Summer Academies
                                                   are based on this academy.
                                                   Worked with Jennifer Patel and Phyllis
         b l Facilitate completion of final rePOrt Sensenig to complete the final rePOrt.
                                                   Invested remaining funds on Active
         c) Effectively invest remaining funds     Learning Classrooms and study spaces.
             on infrastructure to enhance STEM
             instruction
                                                   Participate on the Polley and
      Learn Palomar policies, processes and        Procedures Committee have become
      procedures                                   familiar with polldes and procedures
                                                   reviewed in committee. Also, I have
                                                   leamed others through dally duties.




                                                                                                                    Exhibit 2
                                                                                                                    P. I
Case 3:18-cv-02877-AJB-MSB Document 18-1 Filed 04/17/19 PageID.2518 Page 22 of 84




       Write and submit a Title m HSI proposal          Wrote and submitted the Title ID. It
                                                        did not get funded however the
                                                        proposal was used to help secure the $2
                                                        million Innovation In Higher Education
                                                        Award.


       EMPLOYEE'S SIGNATURE:        ~~f)ATE 1 I2t I /:f
       I CONCUR X DO NOT CONCUR_ WITH THE EMPLOYEE'S REVIEW OF
       HIS/HER PERSONAL GOALS FOR THE PREVIOUS EVALUATION PERIOD.



       EVALUATOR'S COMMENTS

      Kathy stepped into the MNHS Interim Dean position with confidence and passion. She has
      been a fierce advocate for students and has taken on some difficult issues. She works welt with
      her chairs and faculty, understands enrollment management, has tremendous skills in writing
      and managing grants, and has an unparalleled work ethic. I would like Kathy to engage the
      other Deans and faculty early on when pursuing grants and look for opportunities to expand
      our definition of STEM. Kathy has done a wonderful job, is a wonderful addition to our campus,
      and I expect her to have a long a fulfilling career at Palomar College.




      EVALUATOR'SSIGNA~=::==::::=::::-:.....DATE                                o¢""'.01-'
                                                    2


                                                                                                        Exhibit 2
                                                                                                        P.2
Case 3:18-cv-02877-AJB-MSB Document 18-1 Filed 04/17/19 PageID.2519 Page 23 of 84




                                   PALOMAR COLLEGE DISTRICT
                           ADMINISTRAnYE EMPLOYEE'S EVALUAnON FORM

       EVALUAnON TYPE: PROBAnONARY_                           ANNUAL X            OTHER_
       (If \'OTHER", please explain.)

       EVALUATION PERIOD:            From April27 2016       TO April26 2017

       Employee                                             Department

       Kathryn Kailikole                                    Mathematics and the Natural and Health
                                                            Sciences
       Title                                                Evaluator

       Interim Dean                                         Daniel Sourbeer

      COMPONENT B: PERFORMANCE

      PLEASE ASSESS THE PERFORMANCE OF THE EMPLOYEE IN EACH OF THE FAcrORS USTED.
      SPECIFIC COMMENTS ARE REQUIRED FOR FACTORS RATED BELOW SATISFACTORY OR WEAK.

      1.       Planning and Organization - Develops achievable objectives and goals. Sets logical
               and effective courses of action. Makes efficient use of all resources. Works
               cooperatively and collaboratively with faculty, staff, and students in situations calling for
               teamwork.

               ·Jstrong     ..JAbove Satisfactory     ~lSatisfactory     iJBelow Satisfactory      ..:Weak

               Comments: Kathy cannot always meet her deadlines or make meetings on time. This is
               largely because there is so much to do and she has taken on so much.


      2.       • epdershlp Qualities - Inspires confidence, respect, enthusiasm and cooperation.
               Performs duties and responsibilities with integrity and high professional standards. Is
               accessible for consultation and appointments•

               ·]Strong     ..JAbove Satisfactory    ::·:satisfactory    ::-JBelow Satisfactory    ;·.:weak

               Comments: Kathy is a natural leader capable of building support for her ideas. She can
               be somewhat limited in her focus at times, so I would like her to be more global in her
               perspective and be sure to keep the other deans aware of her activities.




                                                        3


                                                                                                               Exhibit 2
                                                                                                               P. 3
Case 3:18-cv-02877-AJB-MSB Document 18-1 Filed 04/17/19 PageID.2520 Page 24 of 84




       3.   Suoervisorv Skills - Fosters a consistent, productive work environment, builds morale,
            counsels, guides and evaluates staff accurately. Stimulates staff to excel. Delegates
            and assigns tasks appropriately. Listens to and considers the points of view of others in
            establishing supervisory practices. Functions well in a multicultural environment.
            Provides opportunities for staff training and professional growth activities •

            ·.iStrong     .../Above Satisfactory       :·:~Satisfactory      ··:Below Satisfactory          :·tweak

            Comments: Morale is high in the division which speaks to ability to work effectively with
            faculty and staff in her division.


       4.   Oral and Written Communication - Delivers articulate presentations. Prepares
            clear, concise written communication. Responds promptly to requests for information
            and assistance.                                                      ·

            ..JStrong     :JAbove Satisfactory         ··satisfactory        .·~Below   Satisfactory        ··iweak

            Comments: Kathy is an excellent communicator. Her contributions towards grant
            writing and management have been superior.
                                                                                                                                   J
       s.   Budgeting - Prepares accurate budget projections. Able to operate effectively within
            budget allocation. Uses innovative methods to leverage fund allocations.

            vStrong     .JAbove Satisfactory       JSatisfactory     ~-."!Below   Satisfactory    -:JWeak      JNA

            Comments: Kathy has an excellent understanding of budgets and how to use them.



      &.    Judgment/Decision Making -Analyzes situations and data and makes appropriate
            decisions. Forms objective opinions. Exercises foresight. Demonstrates flexibility and
            resourcefulness. Relates decisions, activities, goals and objectives to the philosophy and
            goals of the institution •

            :]Strong      ..JAbove Satisfactory       :.1Satisfactory       :JBelow Satisfactory        .lWeak

            Comments: As mentioned above, I would like Kathy to have a larger perspective when
            she considers her role-beyond MNHS and students.




                                                         4
                                                                                                                         ..-~
                                                                                                                           ,_.-:
                                                                                                                             I
                                                                                                                          ....




                                                                                                                      ··.-:.::;/


                                                                                                                                   Exhibit 2
                                                                                                                                   P.4
Case 3:18-cv-02877-AJB-MSB Document 18-1 Filed 04/17/19 PageID.2521 Page 25 of 84




       7.   Initiative- Self-motivated. Able to work independently. Seeks greater responsibility.

            "Strong      ·.:Above Satisfactory   ·.1Satisfactory   :·:Below Satisfactory     ·1weak

            Comments: Kathy has a tremendous work ethic and works to exhaustion. Wrote a
            funded proposal for $2M in one day.



       8.    Creativity - Develops and implements new ideas and methods when appropriate.

            vStrong      ·Above Satisfactory     .·lSatisfactory   ."iBelow Satisfactory     :JWeak

            Comments: Kathy has excellent ideas and feels free to voice them. Not afraid to float
            non-traditional ideas.


      9.     Attitude - Committed to college objectives and philosophy. Represents the college
            community well. Is collegial in dealings with others.

            vStrong     "JAbove Satisfactory     -:!Satisfactory   ·.~Below   Satisfactory   ·1weak

            Comments: Kathy has a very good attitude. Her student focus can sometimes be
            viewed as harsh, and she needs to remember to smile when she Is stressed.



      10.    Knowledge and Experience - Knows and follows institutional policies and practices.
            Solves problems appropriately. Professional development plan and activities reflect
            recognition of deficlendes In knowledge and experience and continued growth.

            ·jstrong    vAbove Satisfactory      ;~!Satisfactory   "JBelow Satisfactory      :JWeak

            Comments: Kathy is evolving Into a top rate administrator. She just needs a little more
            time to experience all that a dean can experience.



      11.   Sensltlvltv - Demonstrates interest in developing, utilizing and celebrating the talents
            of co-workers and team members. Listens to, considers and respects the views of others
            and provides appropriate feedback. Provides opportunities to fully participate in group
            decisions.

                        :1Above Satisfactory     ::jSatisfactory   ~JBelow    Satisfactory   UWeak

            Comments: Her student focus is to be commended. Their welfare is always in her
            thoughts, and she is also appreciative of the commitments and work of staff and faculty.




                                                    5



                                                                                                       Exhibit 2
                                                                                                       P. 5
Case 3:18-cv-02877-AJB-MSB Document 18-1 Filed 04/17/19 PageID.2522 Page 26 of 84




       12.   Relationships With Other College Groups - Collects and uses input from others
             when making decisions. Participates in the shared governance process•

             :·strong     .,JAbove Satisfactory   JSatisfactory      ··lBelow Satisfactory   ··.:weak

             Comments: As mentioned previously, I would like to see a more college-wide
             perspective as time goes on.   ·



      COMPONENT C: REVIEW PROCESS

      My signature acknowledges that I have read and discussed this evaluation with my supetvisor
      and that we have established goals for the next evaluation period. When new goals and
      objectives are attached to this administrative review, I know that the evaluation will become a
      permanent part of my professional file. I have the right to submit written comments within ten
      (10) workdays and to have those comments attached to this evaluation for inclusion in my file.



      Employee:    ~,              S1gn
                                       tJti W
                                            e
                                                                  oate:   (_/I 21-/r!




      Comments of next-level administrator:




                                                                                                        -=··

                                                    6



                                                                                                               Exhibit 2
                                                                                                               P.6
Case 3:18-cv-02877-AJB-MSB Document 18-1 Filed 04/17/19 PageID.2523 Page 27 of 84




       COMPONENT D: GOALS AND OBJECTIVES FOR THE NEXT REVIEW PERIOD


       Manage the new ntle V HSI Grant:

            Pilot the STEM Academies


           Establish an Annual Palomar STEM Conference

           Pilot the Summer Academies

           Maintain relationship with CSUSM

      Manage San Diego Foundation grant

      Manage the Innovation in Hi_g_her Education Award

            InteGrate virtual _pre- and post-labs

            Invest in learning spaces for students and faculty to work with virtual labs

      Work with Faculty to move the Engineering Tech Certificate program forward

      Learn more about the CSIS department

      Provide a CSIS Project concept to the Palomar Foundation to give to potential
      funders

      Facilitate the planning and ordering of equipment and furniture for the South and
      North Centers

      Partidpate as appropriate in the Implementation of IEPI recommendations for
      enrollment management, HR practices, and governance structure and
      communication.

      Participate in Concurrent/Dual enrollment expansion for the district.
      The srgnatures below acknowledge that the above goals and objectives for year 2017-18 have
      been mutually agreed upon by:


           ~:fLtd                                           f!zt-Jt:;

     ~~ ~========~--~o~~~~uti~JJ=~--------
   (_~                    ffate
      Revised 3/12/07

                                                    7



                                                                                                   Exhibit 2
                                                                                                   P. 7
Case 3:18-cv-02877-AJB-MSB Document 18-1 Filed 04/17/19 PageID.2524 Page 28 of 84




                           EXHIBIT3
Case 3:18-cv-02877-AJB-MSB Document 18-1 Filed 04/17/19 PageID.2525 Page 29 of 84




                                                                                              I EXHIBIT J-6 I
                     . ::.          . ·.. ' ....... .
                                           0   ~.   f .. •. :: :

                               11
                      Zil'          1.\').rm~~OMMUNITY COLLEGE DISTRICT
                                           SENIOR EDUCATIONAL ADMINISTRATOR
                                                                   EMPLOYMENT CONTRACT

        This employment contract (hereinafter referred to as the "Agreement") is made and entered into
        this eleventh day of April, 201 7, of by and between the Governing Board of the Palomar
        Community College District (hereinafter referred to as the "Board" and "District'~) and Kathryn
        Kailikole (hereinafter referred to as the '·Employee").

        WHEREAS it is the desire of the Board to employ Employee in the Position of Dean,
        Instructional, Mathematics and the Natural and Health Sciences (hereinafter referred to as
        "Position").

        NOW, THEREFORE, the parties mutually agree as follows:

        1.          EMPLOYMENT. The Board hereby offers to employ Employee in the above identified
                    Position on the conditions contained in this Agreement. Employee is a member of the
                    Administrative Team as described in the Administrative Team Handbook adopted by the
                    Board~ an academic employee as defined by Education Code section 87001 (a), an
                    educational administrator as defined in Education Code section 87002(b), and a
                    management employee as defined by Government Code section 3540.1(g). The
                    Employee and the Board agree that this Agreement is not binding or enforceable unless it
                    is ratified by the Board in open session at a regular meeting of the Board.

       2.          STATUTORY AUTHORIZATION AND EXTENSION. This Agreement is a
                   contract of employment entered into pursuant to Education Code section 72411 (a).
                   Employee understands upon Employee's execution of this Agreement and its adoption by
                   the Board, this Agreement will automatically renew upon its expiration, and Employee
                   will automatically be reemployed for one ( 1) additional year upon the expiration of this
                   Agreement, unless the Governing Board provides written notice to Employee on or
                   before March 15, 2018, of its intention not to reemploy Employee in Position for one
                   additional academic year. If the Governing Board provides such written notice to
                   Employee, Employee's employment in Position and this Agreement will terminate
                   effective July 1, 20 J9, without further action by the Board, subject to the provisions of
                   paragraph 3.

       3.          RETREAT/RETURN RIGHTS. If the Governing Board provides notice to Employee
                   of non-renewal of this Agreement, and Employee has seniority in another administrator
                   or non-administrator education position in the District, such Employee may have the right
                   to return to such position upon the expiration of this Agreement provided that Employee
                   is not tennination for cause.


       262310:Z471CMIOOI
       94 73467.2 aoto'06!l7                                                             Kallikole. Kotluyn 4.11.2017




                                                                                                                        Exhibit 3
                                                                                                                        P. 1
Case 3:18-cv-02877-AJB-MSB Document 18-1 Filed 04/17/19 PageID.2526 Page 30 of 84




        4.         TERM. The term of this Agreement shall begin on July I, 2017, and continue through
                   and including June 30, 2019 or unless extended pursuant to paragraph 2. Employee shall
                   be required to render full time and regular service to the District during the period
                   covered by this Agreement. This Agreement shall be renewable or extended only by
                   mutual, written agreement of the parties as set forth in paragraph 2 above. In no event
                   shall this Agreement be interpreted in any way to authorize the renewal or extension of
                   this Agreement for a term of more than twenty-nine (29) months. It is expressly
                   understood, however, that if the position referred to in this Agreement is funded by a
                   grant, categorical program, or other monies not in the District's unrestricted general fund,
                   and if funding is discontinued, the Agreement will tenninate on June 30 of the fiscal year
                   in which the funding was discontinued, provided further that the District has given
                   Employee written notice before May 1S of the year in which the funding is not received.

       5.         SALARY. Employee shall be compensated in accordance with the Administrative
                  Salary Schedule as established, approved and revised from time to time by the Board, at
                  salary grade 75/4 from July l, 2017 through June 30, 2018 and at salary grade 75/5 from
                  July I, 2018 through June 30, 2019, plus a $117.66 doctoral stipend. The Board
                  reserves the right to increase or decrease the schedule including across the board salary
                  reduction or furloughs on the same basis and for the same time as faculty bargaining unit
                  reductions. Any actions to modify the salary schedule shall not be interpreted as a new
                  Agreement for employment or renewal or extension of this Agreement. The Board
                  reserves the right to increase the Employee's salary. However, any action to increase the
                  salary of the Employee shall not be interpreted as a new Agreement for employment or a
                  renewal or extension of this Agreement.

       6.         DUTIES. Employee will perfonn the duties of the above Position as set forth in any
                  Position description adopted by the Board, and all other duties as shall be assigned or
                  required by the Superintendent/President, or designee, provided that such additional
                  duties shall be consistent with Employee's Position. The Board may adopt or amend the
                  Position description for the Employee's Position at any time as long as the modifications
                  are not inconsistent with the tenns of the Agreement. The Board reserves the right to
                  reassign the Employee at any time during the tenn of this Agreement to another
                  educational or student services administrative Position within the District. Reassignment
                  during the tenn of this Agreement solely for discretionary reasons will not result in a
                  reduction of the Employee's compensation during the term of this Agreement.
                  Reassignment will be made in compliance with the California Education Code and the
                  Administrative Handbook.

       7.         EXCLUSION FROM OVERTIME PROVISIONS. Employee shall be exempt from
                  the minimum wage and overtime provisions of the Fair Labor Standards Act and the
                  California Education Code, and shall not be entitled to compensatory time off.


       262l.Vl4719.0COI
       947JC67.2 a04J06117                                -2-                            Kathkole, Kathryn 4.11.2017




                                                                                                                       Exhibit 3
                                                                                                                       P.2
Case 3:18-cv-02877-AJB-MSB Document 18-1 Filed 04/17/19 PageID.2527 Page 31 of 84




        8.         VACATION AND SICK LEAVE. Employee is entitled to accrue twenty-four
                   (24) working days of vacation annuaJly in accordance with the Administrative Vacation
                   Policy set forth in the Administrative Team Handbook as adopted by the Board.
                   Vacation days are exclusive of holidays otherwise granted to twelve (12} month regular
                   administrative employees of the DistricL Employee is entitled to accrue twelve (12) days
                   of paid sick leave for illness or injury. Employee is eligible for any leaves authorized by
                   law or provided in the Administrative Association Handbook as adopted by the Board

        9.         FRINGE BENEF1TS. Employee shall be afforded all fringe benefits of employment
                   which are provided to the District's regular educational and student services
                   administrators for which they are eligible under the terms of the Administrative Team
                   Handbook.

        10.        TRAVEL. Necessary transportation and travel expenses will be provided in accordance
                   with poJicies duly adopted by the Board.

       11.         SERVICE CLUBS AND COMMUNITY ORGANIZATIONS. The Board authorizes
                   payment of dues and meals for meetings of one service or community organization.
                   Funds shall be allocated to the appropriate expense accounts in the annual budget
                   approved by the Governing Board.

       ll.         APPLICABLE LAW. This Agreement is subject to all applicable laws of the State of
                   California, the rules and regulations of the State Board of Governors, and the rules,
                   regulations, and policies of the Board, all of which are made a part of the tenns and
                   conditions of this Agreement as though set forth herein, to the extent that such tenns are
                   not inconsistent with the lawful tenns of this Agreement.

       13.        MAXIMUM CASH SETTLEMENT UPON TERMINATION OF THIS
                  AGREEMENT. Regardless of the tenn of this Agreement, the Board may terminate this
                  Agreement at any time prior to the date on which the term of this Agreement would have
                  otherwise expired. In such an event, the maximum cash settlement that the Employee
                  shall receive wiJI be an amount equal to the monthly base salary of the Employee
                  multiplied by the number of months remaining on the unexpired term of this Agreement,
                  or eighteen (18) months, whichever is less, minus any amount{s) that could have been
                  earned if the Employee has retreat rights, and an instructional Position is offered for the
                  balance of the tenn of this Agreement. Any cash settlement shall not include any other
                  noncash items except health benefits, which may be continued for the same duration of
                  time as covered in the settlement, or until Employee finds other employment, whichever
                  occurs first The intent of this provision is to satisfy the requirements of Government
                  Code sections 53260-53264, and this provision shall be interpreted in a manner consistent
                  with those statutes.


                                                                                                                               I
       Z6Z310l471~1                                                                                                      i J
       9473467.21504106117                               -3-                            Kailikole. K.athtyn 4.112017
                                                                                                                       .•i _,_,.




                                                                                                                         Exhibit 3
                                                                                                                         P.3
Case 3:18-cv-02877-AJB-MSB Document 18-1 Filed 04/17/19 PageID.2528 Page 32 of 84




                   The District agrees to pay Employee the lump sum cash payment ("Severance Pay"), less
                   legally required for authorized deductions except contributions to CalSTRS, within
                   fifteen ( 15) days of the effective date of termination.

                   In exchange for and as a condition to receipt of the Severance Pay, Employee shall
                   execute a release and waiver, in a form acceptable to the legal counsel for the District,
                   releasing the District. and all of its elected officers, employees, agents, representations~
                   and attorneys, from any claim associated with the termination.

       14.         TERMINATION OF THIS AGREEMENT DURING ITS TERM WITH CAUSE.
                  The Board may terminate this Agreement during its tenn and discharge Employee if
                  Employee commits a material and substantial breach of this Agreement and/or for cause.
                  Such breach of Agreement and discharge shall nullify the terms of this Agreement and
                  Employee shall cease to receive any form of compensation upon the effective date of
                  termination. The term "cause'" is defined as those actions, omissions, or behaviors which
                  are detrimental to the operations of the District and/or its major instructional, student and
                  administrative divisions, or which impair the District's mission, purpose, or objectives.
                  Conduct which constitutes a breach of contract and cause for discharge, includes, but is
                  not limited to: unsatisfactory work performance, dishonesty, misconduct, unprofessional
                  conduct, or insubordination. Disciplinary actions, up to and including discharge from
                  employment, shall be carried out in compliance with the disciplinary provisions
                  applicable to administrative employees as set forth in the Administrative Team Handbook
                  as adopted by the Board. Jn the event of a termiantion of Agreement for cause, the
                  provisons of Section 13 of Agreement shall not apply.

       15.        PROVISIONS OF GOVERNMENT CODE SECTIONS 53243.3-53243.4.

                  (a)        In the event that the District provides paid leave to Employee pending an
                             investigation of a crime involving abuse of his office or position covered by
                             Government Code section 53243.4, and should that investigation lead to a
                             conviction, the Employee shall fully reimburse District for any salary provided for
                             that purpose.

                  {b)        In the event that the District provides funds for the legal criminal defense of
                             Employee pending an investigation of a crime involving an abuse of his office or
                             position covered by Government Code section 53243.4, and should that
                             investigation lead to a conviction, the Employee shall fully reimburse the District
                             for any funds provided for that purpose.

                  {c)        In the event that the District provides a cash settlement related to the tennination
                             of Employee as defined in the terms of this Agreement and Employee
                             subsequently is convicted of a crime involving abuse of office or position covered


       262JJ014119-000I
       9473467.2 &04106/17                                   -4-                            J<aililcolc. Katluyn 4.11.2017




                                                                                                                             Exhibit 3
                                                                                                                             P.4
Case 3:18-cv-02877-AJB-MSB Document 18-1 Filed 04/17/19 PageID.2529 Page 33 of 84




                             by Government Code section 53243.4, Employee shaH fully reimburse the District
                             for any funds provided for that purpose.

                   (d)       "Abuse of office or position" is defined in Government Code section 53243.4 to
                             mean either of the following:

                             (i)    An abuse of public authority, including, but not limited to, waste, fraud,
                                    and violation of the law under color of authority.

                             (ii)   A crime against public justice, including, but not limited to, a crime
                                    described in Title 5 (commencing with Section 67), Title 6 (commencing
                                    with Section 85) or Title 7 (commencing with Section 92) of Part I of the
                                    Penal Code.

       Ui.         MODIFICATION OF CONTRACT. This Agreement may be modified by mutual
                   consent of the parties provided, however, that the party seeking such change shall give
                   not less than 45 (forty-five) calendar days, written notice to the other party of the
                   requested modification.

       17.        RESIGNATION. Employee may resign from employment at any time during the term
                  of this Agreement upon ninety (90) days prior written notice to the Board or upon a
                  shorter period of time if approved by the Board.

       18.        SAVINGS CLAUSE. If any provision of this Agreement is held to be contrary to law
                  by a court of competent jurisdiction, such provision shall not be deemed valid or binding
                  except to the extent pennitted by law, but all other provisions shall continue to remain in
                  full force and effect.

       19.        ENTIRE AGREEMENT. This Agreement contains and expresses the entire and final
                  agreement of the parties with respect to the matters covered herein, and supersedes all
                  negotiations, prior discussions, prior agreements and preliminary agreements between the
                  parties. No promises or representations, express or implied, concerning this Agreement
                  have been made by the parties other than those contained in this Agreement concerning
                  the offer and acceptance of employment described herein.

       20.        NO CONTINUING WAIVER. No waiver of any term or condition of this Agreement
                  by either party shall be deemed a continuing waiver of such tenn and condition.

       21.        GOVERNING LAW. This Agreement is delivered in the State of California, concerns
                  employment in the State of California, and the rights and obligations of the parties hereto
                  shall be construed and enforced in accordance with the laws of the State of California.




       262JIOl4719-000I
       9473467.2 &04106/17                                  -5-                          Kailikolc. Kathryn 4.11.2017




                                                                                                                        Exhibit 3
                                                                                                                        P. 5
    Case 3:18-cv-02877-AJB-MSB Document 18-1 Filed 04/17/19 PageID.2530 Page 34 of 84


•



            22.         MISCELLANEOUS PROVISIONS. This Agreement and applicable provisions of the
                        Administrative Team Handbook contain the entire agreement and understanding between
                        the parties. There are no oral understandings, or tenns and conditions not contained or
                        referenced in this Agreement. This Agreement cannot be changed orally. It may be
                        modified in writing by mutual agreement of the parties as set forth above. This
                        Agreement supersedes all Board Policies, rules, regulations, handbooks or practices
                        which are inconsistent with or in conflict with this Agreement.




           2623·~119.0001
           9473467.2 a04106/l?                              -6-                           Kaililcolc. K.atheyn 4.11.2017




                                                                                                                           Exhibit 3
                                                                                                                           P.6
     Case 3:18-cv-02877-AJB-MSB Document 18-1 Filed 04/17/19 PageID.2531 Page 35 of 84


·~




                                  ACCEPTANCE OF SENIOR EDUCATIONAL ADMINISTRATOR
                                              EMPLOYMENT CONTRACT

            1 have reviewed this Senior Educational Adminstrator Employment Contract~ and I accept this
            Agreement and the terms and conditions of employment it contains. J have not agreed to
            employment and/or contracted for employment with the governing board of any other school,
            university, college, or community college district which will in any way conflict with the
            satisfactory perfonnance of all of the duties of the Position for which employed.


                           Please return signed contract to Human Resource Services as soon as possible.


            Date:_EJ_/--:..1-.:..../.:;.._).IJ--=-/"""'--7-_



            Approved by the Governing Board of Palomar Community College District in open session at a
            regular Board meeting.


            Date:      GJ15'Il {~
            Copy: Employee




                                                                                                                         ........,
                                                                                                                                             --
                                                                                                                        --
                                                                                                                         c::::»
                                                                                                                         -...                ....
                                                                                                                        _.,.
                                                                                                                         ....
                                                                                                                        =~
                                                                                                                       -·,:
                                                                                                                      ~

                                                                                                                      ......
                                                                                                                   -~                ...
                                                                                                                                     ...
                                                                                                                   ~                 .. ..
                                                                                                                  .z:-
                                                                                                                  0                   ..


            262V02.C719-000J
            9473467.2 a04J06/17                                -7-                          Kailikolc:. Kathryn 4.11.2017




                                                                                                                                                    Exhibit 3
                                                                                                                                                    P. 7
Case 3:18-cv-02877-AJB-MSB Document 18-1 Filed 04/17/19 PageID.2532 Page 36 of 84




                           EXHIBIT4
 Case 3:18-cv-02877-AJB-MSB Document 18-1 Filed 04/17/19 PageID.2533 Page 37 of 84


                                                                             DOD 10..28-1962




   LMP:~--

   os               oo._ __
   ou                 ,c..,               :~~~~~~~------------------~~~h-~
  .ALLER.GIES:ln) tr£'=•          Ak~-------------------------------------
                                  SHs:~~·


   ~:tdBOICATIONS:

    CApa-2· 5'cX'a>a ~ P,IQ
 .r~Vk'P\Yi
                                  =f!Y~.~--·
                                    ~OV?~
                                  Caali«

                                  G~ _________________________
                                  GU~:.
                                                                          --
                                                                  llesfr.._ _ _ _ _ _ _ __
                                                       GU~-----------------
                                                              G.__            ~P--~AB---




 t4LQd5k~---,-------




                                  Neck:
                                  COR:
  IN OPFICEIABS- UA:
 .. CJOO
~   88~                           ~0------~-~
 =8
-= ·c:u:r
 BII:DS
          -.
                   OQ...                    .
                                  ac o---------------~~
                                  =M~                                                 ~~
    p!l

 Hlllirll




..,;; r:rr:n;n:n;roo ~= g~                            -cRt                t:t:~e
   HCG:-         ONes CPos        Assessmem:SrllUSt:hS ·
                                                           1
                                                               V@QdJ •
   SanpTea:      ONes CPos          [1J5()~~                      v----       ~
   ~             ~:: ~=              woi/Mot\l.cJc: ;(ijmcdbQc~~~esS-
   Jaflucata:      0 Neg C Pos
   Glucose
   HGB: _ _ _ _ -
            (P"mged1idc),._•__-

   NuaeNoteS:




                                                                            MD.


                                                                                           Exhibit 4
                                                                                           P. I
      Case 3:18-cv-02877-AJB-MSB Document 18-1 Filed 04/17/19 PageID.2534 Page 38 of 84


       Date 1"-22-2017           Name: Kailikole, Kathryn                                                                           DOB 10-28-1962
        Wt:      ')-!
                        Ht:X         Cc: . h.J. tv (;-~~'."')(!·. ~                                  :)f't"J\-1·{'_'}   ao£)(eJJ .· _p,f,_r. VVt7JI\t:f
            ,. - ,..         ...
        T: =-1'K'. :.:>      {~--
                        R: ___         1n r,{i.\WSS (.fot'·olt~                                                   J
          P:         .;J        SO:s   qg
          B/P: - {tO/yr
                                   1---
          LMP: 0 0\t           Last Tet:.......,._ _
          Visual.bq.
          os.______o.o_______                             PMHx: At,w.ifz:/r/k A «...tch,
                                                                             :;-'!                     )
                                                                                                           t/.tf\t/j R ; U.71
          ou_ __                                          PS~LI<
         AUm..GIES:                                       FHs:ivt?? t,ctnjn {" 4             & (5'
                   f!A \f~~1- - - - - 5Hz:                         ¢ <I?Uk/j#·                 .
                                      R.OS:

         CURRENT MEDICATIONS:
                                                          N~~---------------~~~-------------~----
                                                          HEENT:.__________________~P~---------------------
                 t)l\2~~.
                                                          aum~~--------------------Rap=·----------------------
                                                          G~                         GUd____________________
                                                          GU~=~------~-------------------G--~P·---AB---
                  ;·,,, pvof:Pa.                          PE:  Nml
                                                          Neum: C         .A.Jav%. !Vtl;fJ
                                                          HEBNT: D..      tv'-4 I :tr;::
                                                                                I    ,e:t;

                                                          N~
                                                          COR:
                                                                  0~---------------------------------------------
                                                                  0 $t ·Cz.  ,U-14
         IN OFFICE LABS- UA:                              chest . o c771- .ta nhw?o.&r
                                                                                 v
                    DOD

    -= .§8~                                                              0 _____________~~------~---------~-------------
    BUir;lllct
                                                         Abm
                                                         Bmut            0---+------~~r-~~~~~~~~~~~~-
                                                         Vag:



     =
    A~

       §§0~
     - . §BoQ_
                     •     0 •                           Cx:




      .: 82.2_                                         'l-Vmrf1iilal"!


0   ~               r1~r1
                    -zr-Y~112o                           Ta~             D-----------------------------------------
                                                         P.tOState: D _________________________________

    =_~00000~~-------------
    HCG:        0 Neg 0 Pos Assessment: 4 /.rft '"''j:.. L4!J&(.(fla£ "·~=td /A4,c,..(g
    Strep Test: 0 Neg 0 Pos                                            = .1'
        Moco:              D Neg C Pos
        KPylod:            D Neg C Pos
        lntlueaaa:         D Neg 0 Pos
       Glucose
       HGB:  _ (F~----
                _ _ _ __

       Nurse Notes:




                                                                                                                                  .M.D.


                                                                                                                                                      Exhibit 4
                                                                                                                                                      P.2
       Case 3:18-cv-02877-AJB-MSB Document 18-1 Filed 04/17/19 PageID.2535 Page 39 of 84


 .>ate 11-21-2017                                                          DOB 10-28-1962
                                                                                                   -   ....




                                ~-----------------------------------------­
                                ~~;-------------------------------------------
                                ~~-----------------------------------------­
                                ~--------------------------------------------
                                R.OS:
                                N~·------------------~MS~·-------------------
                                HEENT:.__________________P~~------------------
rMBDICA;QONS:
  ana.J.L ~rV'
                                eum~·--------------------Rap=·-------------------
    ?.b\o?t                     G~                      GU~------------------
                                GU~~·--~------------------------G____P----AB----
                                PE:   Nml    (\) S_s

                                HEENT:C   ~~ .··l)IJ.Q
                                Neuro: 0 ______________________________________ __

                                           0--~------------------------------------
                                Neck:
                                COR:       o.'Ut'


                                                    .~? ~
IN OPPICELABS ... UA:           Chest:
~        DOD                    Abel:

    88~
:= ·oo-.                        B.reast:
                                Vag:
                                                            'o/rJ
                                                                      ,.
                                Cx:




~~~~-~-;~~~=======c=t-.-~=-=-,~~=~=·=,=.~=~=~=,:·s=&=~=~-~~=-=======
..       o~llllllo-~            T~us       o________________________________________
:        OOCL.,..IL             Pmscate: 0 ______________________________
                                           o________________________________________
= OOOOOt;JO H~ 0--~------~----------------------------
AD                              ~




                                               .M.·~~
HCG:          0 Neg 0 P01
                        ,..£.   .Aaaessmeot:
Stftp Tcsc:
Mono:
              0 Nqr D Pos
              C Neg 0 Pocs
                                               S: 24: Uffl~...;
H.Pylosi:     0 Neg 0 Pas
IDSueMa:      0 Neg 0 Pot
Glucosc(F~~·
HGB: ____   -_
             - _

NumeNotes:
    !)F:SOt.~tV       .V~eo~­
: ~(.NV'\\\~,\,~·..,_--
FoBow Up:     )irny;QJtouC

                                                                                            Exhibit 4
                                                                                            P. 3
 Case 3:18-cv-02877-AJB-MSB Document 18-1 Filed 04/17/19 PageID.2536 Page 40 of 84


.. Date 11-08-2017
  W.t:       .K Ht:..,X~-
  T:         >17. Lf R:"""'t~";~-
  P:   Jr\    SOz            q~
  B/P: L \ i~~~
              ---· 1...-·----
  LMP: 0\:~-t". Last T e t : _
  Visual     Ac:wtr-
  OS _ _ __OD~-----
  QU.

  ALLEllGms:.          ~u   'tu      ~·-------------------------~-------------------
                                     Sih: })e.n\ec, !a'go.tc.o E:\0\-\- w·.ne x~·3/ tJJee.~
                                     ROS:
                                     Nemo:Din~~          t,tlJ.&   ~     ~@a~ ll'~        MSK:._ _ _ _ _ _ ____._ __
                                     HBBNT: ~~          '&L,fm;o.'-      mtus ;oat Psyc:._ _ _ _ _ _ _ _ _ __
                                     Catdio:                         reon.t-<S'Ufc.&i"\So llesp:._ _ _ _ _ _ _ _ _ _ __

                                     GI:                                                  GU:~----------
                                     GU~·                                                         G     P_---"AB-
                                     PB:       Nml
                                     Neuro: B: o.lc        &4      . ·,t'\ no   ~g o·.;;'ri'c~s


                                     ~~=::ii~!~~~~;%:t~1
                                     COR:      ....S: %"'gg_       (AQ)\t (eflgx (lOCMilf
                                                                                                                :m
                                     ~at ;t.~CX~A~----------------------------------
                                     A~   o________________________________________
                                     Bmut 0 __________________________________________
                                     v~        o___________________________________________
                                     em        o_________________________________________
                                     U•/AmO __________________________________________
                                     Bade
                                     ~=
                                               .s-::..-er C)}A :tf&\ec""ss
                                                o_________________________________________ __
                                     Skia:      0   ________________________________________
                                     v~o




                                     T~:
                                                    --------------------------------------------
                                                o___________________________________________
                                     P~~~o--------------------------------------------
                                     ~    o ____________________________________________

         -
                                     H~ 0~~----------------------------------------
                                     Aua~.~Q~\IT~\----------------------------------
  HCG:           0 Neg C Pot
  Suep Test:
  MODO:
  H.Pyloli:
                 C Neg D Poa
                 0 Neg 0 Pos
                  0 Neg 0 Pos
                                                     i? ~2ro-/;e't}l~=•MJ ~~OM                              I
  laftaccm:      0 Neg 0 Pos
  Gtuccse {Fiaaealidr):._ __
  HGB: _ _ _ _ __

 NuaeNotes:



  Pollow Up: iP. PfCSi6+enr or
               (.tk,csc.n;~ s~Moms


                                                                                                                   Exhibit 4
                                                                                                                   P.4
 Case 3:18-cv-02877-AJB-MSB Document 18-1 Filed 04/17/19 PageID.2537 Page 41 of 84


Date 10-16-2017
 Wt:                     Ht:......_.;~....r-.
 T:    q::::;;::o3       R: _..;,_;.._
 P: { -:;(£          ~ so, 1:k""
 B/P: L-        ll ~
  -           -'T,?r       1-
 I.:MP:~LastTet:_
 Vssual A_cuity:                                            • n .               . \. .             .
 OS                  ·OD._ _ __                 PMHx:    ~it,..,... •. \..s=or V· ! t,·,
                                                                t   I                    J
                                                                                             A,.x~ .
                                                                                             .,.   ~~


 OU         I
 .AILER.GJES:..::U IUt ..}na.u,~                ~~·---------------------------------------------
                                                PIU:~....-_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                                                SH: ______________________________________________

                                                ROS:
                                                Ne~~------------------~~~·--------------------
                                                HBENT:
                                                eum~
                                                                       P~~-------------------
                                                                       Rap:.___________________
                                                GI:                                                     GU:d_ _ _ _ _ _ _ _ __
                                                GU~:~-------~~~~----------~G____P__~AB----
 ~                   I,




                                                Chest:
                                                ~          o___________________________________________
                                                Bnut       0 __________________________________________
                                                v~        o___________________________________________
                                                ~         o___________________________________________
                                                U~/~0~~--~~--~~~~--~~-----------------
                                                Back:
                                                o~:
                                                      oQJr:qatJ.-&f=sj'":f- ~riiSJ!J
                                                           c ____,______________________________________
                                                Skin:      0 __________________________________________
                                                Vu~D

                                                             -------------------------------------------
                                                          o___________________________________________

--
                                                T~mr.




                                                P~~~c      ___________________________________________
                                                ~         o___________________________________________
                                                Hemia: []
       -
 HCG:            0 Nca 0 Pas                    Assessment:~~~-------------------------------------
                                                            Li .p5::t;i-c
 S~np Test:
 Moao:
                 0 Neg
                 0 Neg
                       0 Pea
                       0 Pos
                                                              ~%-<:\~
 H.Pylori:       0 Neg 0 Pes
 laUiucnza:      0 Neg 0 Pol
 Glucosc(F~
 HGB: _ _ _ _ _ __

 Nw:seNotes:



 Follow Up:--....:----



                                                                                                                           Exhibit 4
                                                                                                                           P. 5
Case 3:18-cv-02877-AJB-MSB Document 18-1 Filed 04/17/19 PageID.2538 Page 42 of 84



                                                                       .                                 ··i· :: .':-;:. ~;~;~.~~~!   .#·~ .~: ·~
                                                CNlcoteDinneiJ,N.P. CAU:.HP951102253 0&\MDlS!mlf; ~-:~ :~,~~·: • ~- ·..
                                                ccam~~r~a     DBMarco.N.P. CAI.lc.NP9265 DEAMD1004&11       ,. ·     • ·~00~·
                                                [J Marianna Aac:ey, N.P. CAlle. Hi'180t9 II£ANP1842168
                                                CMagan·N.P,· CA~~1~1                                                         . • .... - ••.
                                                               :   .   •.   ·:.•. i




                                                         ..




       .,;




                                 ;"
                               .;'




                                                                                                                        Exhibit 4
                                                                                                                        P.6
   Case 3:18-cv-02877-AJB-MSB Document 18-1 Filed 04/17/19 PageID.2539 Page 43 of 84



    Date 06.05-2017
     Wt:.                          Ht: ~
    .T:       4f 3-;l . R: T4
     P:         (eD · SO:s 'iK
      B/P:~
      -                                  I~
      LMP:                 ~Tet:_
      VlSUSl Acaiq:                  .
      OS                     OD                   P~~-----------------------------------------
      OU                                          ~·-------------------------------------------
      ~G~:£~\~(n~ ~~--------------------------------
                                                  ~--------------------------------------------
      ctJRRENI'MEDICATION~.dMiiPIT:                          ·-----------------------MS~·---------------------
                                                                                    Psyc:._ _ _ _ _ _ _ __

              (un~o-~~                                       ~---------~:~-------­
          zol~~ ~s~                                     ~--------~~8----P-.----
          ,,;o+ts          2loo             ~~,
                                                         ~--------------------------~G,       __~.·----AB---

                                                  Neck:        D
                                                  COR:        0    ~ ~" ~~
      IN OFF'ICBLABS .. UA:                       Chest:      0    &'1C6
 BillzlltiD    ODD                          ·     Abd:        0

               88~
~                                                 BJ:eaSt:    D
  JGIIra                                          Vag:        []

 ~
  ..,          oo-.                               Cx:      D



               ~ls~o_
                                                  Uter/Ad:C
  frGCID                                          Back: 0 ~~               ( if'f
    Ellocld                                       Ottho: 0
       pH                                         Skin:    0
               0                                  VascuJac CJ



--=
   HDfle          fllitWCIIIIr•lllllillee

                                                  Testes: 0
Ld:,cqcD
               OOQ...,.                           Pmstatc 0


     HCG:
               r::n:u::rCJ OCJ o
                     0 Neg 0 Pes
                                                  hdal: CJ


     Srrcp Tcsc      D Neg D Poa
     MoDO:           0 Neg 0 Pos
     Kl'ylod:        0 Nca D Pos
     Iaflucau:       0 Nea c Pas
     Glucose (F~.oyo.k):_ _
     HGB: _ _ _ _ __

     Nw:se Notes:




     P~wUp-·----~-----



                                                                                                           Exhibit 4
                                                                                                           P. 7
Case 3:18-cv-02877-AJB-MSB Document 18-1 Filed 04/17/19 PageID.2540 Page 44 of 84




                   \.




                                       ~)·             ACCESS MEDICAL CENTERS
                                       ,...  477Nonh SOmino Raf.AIOO.EnciMas. CA9m4 • phon=760-943-tlll • &.:760-943-0180
                                                                         www.accasmcd.nu
                                o Rarain H. Farad, M.D. Lic.IG80982                     o Nicole Dinndl. N.P. Lie. #95002Z.53
                                o Carol Buder, N.P. lJc. INP838G                        o Mary Ann Cac&cy N.e lie. #NP1200s
                                o Mcpn ~ N.P. Lic:.INP16731                             o HcadJcr Smlrh, N.P. Lic.I9S00203l
                                oApi)'J P"addiag, N.P. Lic.l20027                       o Marianne P~ N.2 Lie. INP18019
                                a Bonni,ruad.      N.l! Lie. 115285
                                                                                       DATE      (i.,;/i,ft<
                                Name       o/t.ai1kdfP ~aLj/~
                                            I
                                                         v
                                                                           ,
                                                                                       DOB /J     J:ztg;J ~ ;:1
                                                                                                          ~


                                                                                                                   Q1Y    TUGlS
                                                                                                                          liRlL


                                 J3c       1:     Gf'~ a . s:,~ ~ 6_;J}         a
                                                                                 X~c                              JCI    ~
                                           SlG                                                                           4T
                                l3c        1:
                                                                                                                         42   3
                                           SlG                                                                           "iS
                                IX         1:                                                                            42   3
        ·1                                 SJG                                                                           7S
                              c Label Ln        s.-.   CYouMaySubsdmtc:       ~

                              Ph~Sigri=urc: _ _~o~<.u~·...e.-d:~~-&~~=:;...,
                                                                        :a:;t-~C£~_             . .______
                                       i
                                  '1
                                  ;-




                                                                                      '·




                                                                                                                              Exhibit 4
                                                                                                                              P.8
Case 3:18-cv-02877-AJB-MSB Document 18-1 Filed 04/17/19 PageID.2541 Page 45 of 84


Date 05-22-2017                     Name: KAILIKOLE. KATHRYN
 wt 202               ~~~               ec.~~~~~~~~~\~'~·~~r--~~~~~~~~~~~~~
 T:        qJ. }{     R: __A
 P:         l? 3      SOz: 'l{\
 B/P:      L   !YO
               C(U
 LMP:                LastTet:..__
 Visual Acuity:
 os                  oo._______
 ou
 ALLBlt.GIES;        S\A(fa             ~~--~~~--~~~~~~------------------
                                        PHs:...___ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                     lV\t.I~J<tt)       SHx: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                                        R.OS:
                                        Nwm:.__________________MS~·--------------
 ~MEDICATION&                           ~:                                          P~~-------------
       xooox n.s AJ             PflN Cardia:                                        Resp:._ _ _ _ _ _ _ _ __
                                        GI:                                         GU:8,_ _ _ _ _ _ _ _ _ _ __

                                        GU~=·----------------------G·
                                        PB:      Nml
                                                                                              __-JP·----AB---
                                        Neuro:
                                        HEENT:O A -t-01t a 1 eft~~
                                              ~___________________________________ _     ·
                                        N~         c _____________________________________
                                        COR:       p. ?,S ~            1\...o
                                       Abd
                                       Qat        ~--~--~~~--·-------------------------------
                                                  o_______________________________________
                                       B~~        o____________________________________
                                       v•         o_______________________________________
                                       ~          0 ___________________________________- - -
                                       U~/Ad:O      ____________________________________
                                       Ba=        0 ______________________________________
                                       O.rtho:    0 _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                                       Skia:
                                       v~c




                                       T~
                                                     --------------------------------------
                                                   0 _______________________________________
                                                   c _______________________________________
                                       P~~=c         _______________________________________
                                       ~          c _______________________________________
                                       Hemia: 0
HCG:           IJ Neg C Pol                          --~-TT-~--~~--~--------------------
Sucp Tesc      0 Neg 0 Pos             ~~c:--~~~~~~~~~~~---------------
Moco:          0 Neg 0 Pos
H.Pylod:       0 Neg 0 Pos
Idaeaza:       0 Neg D Poa
Glucosc(P'~......_-
HGB:_._ _ _ __

Nw:se Notes:


                                       Psuiellll\&f: D SBE C Sl'B 0   ~IBTOH    0
Follow Up:     A     i'.Aee.ta!C •     Sipature:t?::-~oG2..:::;;;..._ _--.



                        2l... P\~,     '2-a\1
                                                                                                            Exhibit4
                                                                                                            P.9
Case 3:18-cv-02877-AJB-MSB Document 18-1 Filed 04/17/19 PageID.2542 Page 46 of 84


Date   05/08;17




 os~        _____oo_______ p~~~~---------------------
 au.____                   PSHz: (&..., ,;{) <'if&?

                           ~~-------------------------------------------
 ~~~~~~~~~~~--------------------------------------------­
                 ROS:

 CUUENTMEDICATIONS:
                                     N=m=-------------------J~~------------------
                                     HEENT:.__________________~P~--------------------
               ¢                     C~:
                                     GI:                                        Rap=~------------------
                                                                                GU:d_ _ _ _ _ _ _ _ _ _ __

                                     GU~=----~~----~----------~--~ -~~---~
                                     PE:



                                     Neck:
                                     COR:
                                     Chest
                                     Abe
                                     Bmuc
                                     v•
                                                 0_.~~-----------------------------------
                                                 0 _________________________________________
                                                 o__________________________________________
                                     ~           o _________________________________________
                                                   _________________________________________
                                     •=
                                     U~/A~D




                                                 o_________________________________________
                                     o=~         o __________________________________________
                                     SkiD:       [] _________________________________________
                                     Vu~c




                                     Ta~:
                                                  ------------------------------------------
                                                 o _________________________________________
                                     Prostau:: 0 _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                                     ~           o______________________________________

 HCG:
       -        0 Nea    0 Pas       H~ 0~~--~~-----------------------------
                                                Tt-
                                     Assessment:· db Y          J
 SuepTesc
 Moco:
                0 Neg
                0 Neg
                         0 Pos
                         0 Pos
                                           Y r 111 :J
 H.Pylod:       0 Neg    0 Pas
 taaaa=:        0 Neg    0 Pos
 Glucose (FmgeaUdc)_ __
 HGB: _ _ _ _ __

 NUESe Notes:
 _          q,'VI.n -\.D fJ-f- ri~
 ----~RU0412569~~~)11:__
                                     PadcatBd: D SBE 0 STE 0 ~H D Did 0 Exccdrc 0 S'l1)    0 Di1cuc/Rilk
 Follow     Up:~   \& 1!&
                                                     c          ~ ~As~, (\~
               sl (}~/I?':           Sipatw:4:           (ll\                             MD.

                        0.:~" atrl                \< f              -~-~-'.~oz. 2-bl,
                                                                                                           -E:xhibit 4
                                                                                                            P. 10
           Case 3:18-cv-02877-AJB-MSB Document 18-1 Filed 04/17/19 PageID.2543 Page 47 of 84
                                                                                                .-    ·..
 ~7~f/ ·~~ccasi:~~e=iji9il :centei'S, 'APC                                               . ·r .• ·.•. -:::
                                                                                                     , ..
   •~.:.      U7"'4. El C8ri1rrto Real. Suite A10D
                     Enclnftas. CA 92o24                                                               ...
. .·. .                        fax
            ~e~ (7~0) 94~91~1. (760):@43-0                                                      ...




;;~~:- {!: ~ ·~
 =:~).; B~~:



                                                                                    8tD




                         ·1




                                                         i
                                                     l




                                      .·

                                                                      "·




                                                                                            Exl:tibit 4
                                                                                            P. II
Case 3:18-cv-02877-AJB-MSB Document 18-1 Filed 04/17/19 PageID.2544 Page 48 of 84




                           EXHIBIT 5
                                                                                                                             0
                                                                                                                             ~
                                                                                                                             CD
                                                                                                                             ~
                                                                                                                             to-'
                                                                                                                             00
                                                                                                                              I
                                                                                                                             n
                       JMgf~i§      &!It ~~ a~Btl§ ~~ABI!I                         li~~~i~~ ~                                ~
                                                                                                             [!              0
                                                                                                                             N
                                                                                                                             (X)
                                                                                                                             -.J
                                                                                                                             ~

                                                               i       .   CL!                                               )>
                        .. - - ..   u~ ;::-       ·- .. ,                                   J                       I        c...
                                                                                                                             m
                                                                                   u! ·II Jju                                 I
                                                                                                                             3::
                                                                                                                             (J)
                                                                                                                             OJ

                                                                                                                             0
                                                   •    _s         "       -       ..                                        0
                                                                                                                             0
                                                                                        fll.lf i(a(l                Ii       c:
                                                                                                     I       r,J    1•1·     3
                                                                                                                             CD
                                                                                   ~~~~~~~~                                  :l
                                                                                                                             ~
                                                                                                                              I
              ~~ iir•;[u~~   ~~~~~ i ~~~~
                 r . a r iJ ;•HtJI   ~~a,                      .i:ti!i
                                                               1    ~  I
                                                                       .tifi~lia Jnll
                                                                                  It                               l'ti
                                                                                                                   ~~~  '
                                                                                                                             -
                                                                                                                             to-'
                                       1
                                                                         . 1I
              . lsn~.l:; I j,r              (Y I ~!            e.lfllr Jl! i I - ih                      8         !II       I!
                                                                                                                             co
                                                                                                                             0.
                                                                                                                             0
                                                                                                                             ~
                                                                                                                             to-'
                                                                                                                             ~
                                                                                                                             ~
                     itl J(    a       IS     i    J    Jl_    ~ ll                     r 15",_.9'       I   "II        :s   co
                                                                                                                             "U
                                                                                                                             ~
                                                                                                                             !e.
                                                                                                                             0
                                                                                                                             (.o
                                                                                                                             0
                                                                                                                             N
   l~~            l!lltiiil         !!Iiiii ~~lti! li!!!i lli!!ll ;li!l                                             I        "U
         i!                                   I         aJ Krli                              §.s                             ~
                                                                                                                             CD
         >
                      ~~~~~a        IJI• I'             J (·      ~w-~~                                                      N
                  :iillrml!         ~~~~:~~ ~~~~~ ill!l~                                ;iJilil      qliii                   0
                                                                                                                             .....
                                                                                                                             ~
                 1                                     \.-.I   a               I
                                                                                                                                     Case 3:18-cv-02877-AJB-MSB Document 18-1 Filed 04/17/19 PageID.2545 Page 49 of 84




•~tTl
   ::<
- :r
   §:
   Vl
   -
Case 3:18-cv-02877-AJB-MSB Document 18-1 Filed 04/17/19 PageID.2546 Page 50 of 84
    Case 3:18-cv-02877-AJB-MSB Document 7-1 Filed 01/18/19 PageJD.903 Page 3 of 14




      SCOPE OF THE ltNE8JKIATIQN.
      The scope of thfs lnve8tlgatiGn was CD defermlne:

      A. Did District employees allow ancllor condane objactionable ancflor dlsorimlnatary mataltal to be~ on
         District property In~ of District rules?

      soUBCE cu: THE MMPLAINT.




      A. Hector Gan:la VIDa
            Aaaf&lant PRitesaot
              PhJalcs and E11glneerfng
              Pafomar CammunflyCoUege District
      B. Altlwr GeJWia
          Associate Professat
              Ph~ and Engineetfng
              Palamar Communttv ccuese DfsCrfct
      C. Takashl Nakl.flma
            Aafeasot
            Physics and Eaglnearlng
            Parornar Cammunlly CoUege District



      A. Dantel Flnbalhal, Ph.D.
              ~atalr
              Phyalcs and Engfnearlng Dapattment
              Palomar Community College DiStrfct
      8. ICathr,n Kallllrole. EcLD.
            Dean
            Matltemallcs an&S lhe Natural end HaaUh Scfenca8 DMslon
            PatomatCommuntW CoUese District
      C. Arthur GerwJg
                                                                                                                ]
            Asaocrata PRJfessor
            PhYSICS 8ftd Engineering Department
            Palomar Communlly        eeueae
                                        DIBtrtct
      D. Tllmahllflllqlma
            Plafessar
              Phy&D and Engineetfng Department
              Palomar CommunJly COllege DlstrfGl
     e.   Hector Garcia VIlla
             Asstatant Prafes&CII'
             PhyaiC8 and l!ngJnaerfng Department
             Palomar Communlly cauese DJstrtct




                                                                                               Exhibit A
                                                                                               P.2                  Exhibit 5
                                                                                                                    P.2
     Case 3:18-cv-02877-AJB-MSB Document 18-1 Filed 04/17/19 PageID.2547 Page 51 of 84
\.


         Case 3:18-cv-02877-AJB-MSB Document 7-1 Filed 01/18/19 PageiD.904 Page 4 of 14




           CREpiBILITy Qf 1HE WIIN&SS§S.
           The analysis of lh8 crediiiUily of the wllnessea Is an Important 88P8Cl of a fsct..ftndlng bwesUgatfnn. Aa an ecceptsd fUia
           of evidence. a facl finder can cllsregard the statements of a v4!ftess Who has been found CD have pnmded faf8e ot
           UM!Iabra Information durfng th8fr 188tirnony In a mauar. 1base \\'ltnesses' statements can be dlsregaJded In their enlf~
           and not believed unfass there ta compelling evldanca to condud8 that lndlvldual &lal8mants o1herwl&e are true.
           CancernJng the wftnesses' stataments. this fact finder con&ldared:
           a) Tbe w~~ness· cremeanar while providfng a statement and the manner In wllich hel&he pmvfded th8 staletn8ftt.
           b) The c:harader of the wltnestt statement.
           c) The extent of the wttness' capacfty to pealve. to mcoDect. or tD camrrwnlcala any matrBt abOut which belahe gave a
                 staremant.
          . d)1be extant of the wftna&S' opportunity tD pen:elva any matter aout which he/She gave a statement.
           e) Thawllnesa' charact8r for han88ty or veracity or lhefr opposftas
           f)    The existence or ncnufstBnce of a Bias. fnterest. or other motiw.
           g) A atBtemont prevfGusly made by the witness that Is consfstenl with hfalhar sta1ement during the              fact.ftftdlna
                 fnvestlgslfcn.
           h) A statement made by lhe wilness lhal Is lncanslseent willa any part of blalher statement during the fact..findfng
                 lnvaatJaalloJ ..
           0 The ex1s1ence or aanex11tence of any fact given 1ft statement by the wftne8s.
           D The witnesft alilude fiiWard the ract.ffndlng fnveatlptlon In wtdch halahe gave a statement ct tcwaJd lha sfvfng of a
                 8latement.

                                                      Dlse!f!*P ptWII!!ess CtediJJIHir.
           WJineaa Daniel Flnlcenthal. Ph.D.
           Dr. Flnlcentbal appeamc1 to be a c:rucmife witness In this mauer. Dr. FlnkenthaS 18 the cummt Chair af the Physics 8ftd
           Eft8fneertng Deparlln&At of the Dlstltct. Dr. FfnJcenthal came fciW8Id after he had been eravaled to Ida c:unant position In
           ORiBr 1o make Ids complaint concerning lhe dfap!ay of what he consfd&nld obJeclfonabla materiaJ In ar about the Physics
           Department. Dr. FlnJcenthBI was deemed credible clue to the facllhat ttls 8l8temeniB 10 tis fact ftndet tended to be
           c:onoboaat&d by Ole phyafcal evfdence located In lh8 na of the Physics Department. as well as the statamenla of other
           credfbla wl!n8888S.
           Kathryn Kallllcote. Ed.D.
           Dr. ICaBDcata appasrud to be a credfbte wllness In Ul1a lnv8stfgatfon. Dr. l<aUlko!a sald Chat she ob&etved the cft'enslve
           matertasu and further noted t11at Mr. Gafwfg and Mr. Nalc8Dma had apedftcaBy cten!ed kr&cwctecfga of the materials that
           wetadfaptaved In areas that they W8t8 known to flequent on a daDy basis. Dt. Kaillkole afao noted that &he ballavecl bG1h
           Mr. Gelwfa and Mr. Nalcaltma had been lnsubaldlnate concamlng the publtcaUan and use of cadaln Inappropriate paUcy
           and rules stafsmenta. a,uats1 and a student wamlna IaUer.
           WICne88 Althur GIJI'Wfa
           Mr. Getwla drd not appear to be a cred1ble wftneaa fn tlds matter. Mr. Gerwig has been a tong.tenn faculty member In tha
           Phyalcla and Enpa88flna Department., and seemed to be unaware that materta1s had been d&lplared on variGUS waRs 1n




                                                                                                                     Exhibit A
                                                                                                                     P.3
                                                                                                                                           Exhibit 5
                                                                                                                                           P. 3
Case 3:18-cv-02877-AJB-MSB Document 18-1 Filed 04/17/19 PageID.2548 Page 52 of 84
    Case 3:18-cv-02877-AJB-MSB Document 7-1 Filed 01/18/19 PageJD.905 Page 5 of 14




      lh8 arualn which 11e 1189 warked nearly on a ci8Uy basis. It appeared to the fact finder thai Mr. Gerwig's ala!ements ware
      lmpfaualble, In that he woutd IUWe obServed lh8se materials having wodced In that area.
     Wllneaa Talcas'hl NakaJima
     Mr. NakaJima alSO appeared tD lack crectibDily In his statements to the fact finder. Many of the ob]ectionabla materials that
     ware abselved and removed from the Physfcs and Englneerfna Department were dlspt&)CI on the d0018 and In the room
     assodaled wiUI 111888 that Mr. Nalc&llma U88d on a daBy basis. Mr. Nakajima's statement that h8 was unaware of many of
     Utese materfa1a was lmplauslb!a and I~ wllb ratfoftal reason and fOglc.
     Witness Hector Gan:la VIlla
     Mr. Garcia vma appaal8d to be a credtbla wfln8S8 en lids mauer. Mr. Garda ViUa 1a a talatlvely new Aaat8t8nt PIOfeasor to
     the department. Mr. Gan2Ja VDia said lb8t he was aware of some of the matedals that had been dtsplayed In the area.
     however, tte was uncertain 88 Co the ownership or who had authored these 1tBms. Mr. Gaida Villa was deemed aedibfe.
     as he was relallvaty naw ID lha department. did not typ!caPy use tba rooms where the asscdated cb]ecUonable mal8rfats
     were located and appeared earnest and buthful fn his statemenls.
     Witness Susan SftOW
     Ms. SnGw cHd nat appear to be a aadlble wftness fn lhfs matter. Ms. Snow appeared as a w11ness: hawever. she was DtUe
     more than a tltfnJ~ed advccata for Mr. Garwfg and Mr. Natcajlma. Ms. Snow had repteS8IIt8d both Mr. Gerwf8 and
     Mr. Nakejtma at thefr tntervfews as thefr unlon repl888ntatlve aa part of 1he Pafomar Fac&dtr Fed8181otL Ms. Snow
     claimed that she was a wlbt8SS In litis malter, as she had GIJseMJd an 118m that had been hung over a c1oct fn one af the
     offtcea In lhe Physics and Engineering Department. Ms. Snow knew early on. and prier 10 her ftJPf888ft181fon of
     Mr. Nakaflma and Mr. Gerwtu. that she wculd therefore be a witness In this matter, yet she sat lhrougb and parlfcipated In
     thafr lnteMews. as a fGIM8881datlve. Ms. snow appeared to be biased and motivated to advaca!a fer her 8B8GCiatiDn
     membea8. and was 888ft as a wllnasa wlaclced cndbUily.

     FINJJPC9&
     A. Did District employses a!low and/or condone obj&Gtlanalde and/or cllscdmtnataly material to be displayed on
         Dl&trlct propetty In vlo!atlon of District rules?
         Short Answer. YES




     Dr. Flnkenthal lnd!cated to the fact finder tJ1BI he b8Uaves lnapp:oprlale batuwlcr relevant to the allegations had ta1can
     pl8aa In the Phf&lcs and EneJneerlna Dapmtment under tho cha!naanahfp of Mt. Nakajima far 8 number of years.

     Tha facts further cfarnaMtlale that In 2G09. a &tiJCield with certain dlsai1Uitlea had filed a campfatnl with lha Departmel\t of
     Educauon. otRoe of Civil RJstds 18881dlft8 cllscrfmlnat!on by the Pn,sfcs and EnQiftaelfng faculty. The Oflfce of Civil
     RlaiD had upheld the stuanra complaint and Dr. Ffnkenthal provided a copy of these ndevam dacumerds to the fact
     flrtder. Dr. Plrdcsnlhal 8!80 pnMded the fact tiftd8t with emauu ha had received that are purported to be 1»etween
     Mr. Nalc&lfma and a student that had occuned an ar abaut Auauat24. 2009.
     Dr. Flnkanthal pointed out Chat th88e emaDs dlspmy that Mr. Nakajima had vlatat8d the Americans wll\ Dlaabmlaa At:t
     (ADA) and lefused to matce a reasonable accommOdation to the Btudent who filed the aomptalnl. Dr. FfnJcanthal noted
     lhat this axd1anga cccurred anSv four mcnlul after the Ofl1ce of Clvtl RfaMs (OCR) had published 1hetr report ooncemtng
     tha pravtoua vfoiBtlon of the ADA.




                                                                                                                     Exhibit A
                                                                                                                     P.4
                                                                                                                                        Exhibit 5
                                                                                                                                        P.4
Case 3:18-cv-02877-AJB-MSB Document 18-1 Filed 04/17/19 PageID.2549 Page 53 of 84
    Case 3:18-cv-02877-AJB-MSB Document 7-1 Filed 01118/19 PageiD.906 Page 6 of 14




      CO""W""'t
      fi'afam&r~~DIIIIt4                                             •
      ~~~~- 19 ' nRsllotl:~ ~- GmrAJVD. ~-~
      membel8 had eDowed the placement cf these maiBrfars. or wwa aware af theft pmsence. Ttce vartaua Itema araldentlfled
      by item number as datalted be!ow.




      a) rsauaa of 8aiUid 81ldiOr Gender, Ralal, NatloMI 0r1s1n HarasamantiDiscrlmlnallon Relevant to Above bema
      Savetal of theSe llama concerned Issues of either eaxual and/or sender haras8ment and dlsclfmfnallon. For Instance.
      Item No.2 was a ctccumant thai was posted on the door exWng Into tb8 h&Bwayfrom Raam t&2A8. Thts Item w1llcb waa
      tftlud 11Qu6on Rusfsls:'S" provfded a mnemonic In ORfBr ta allow &lud8nl8 to mamorizs lhe names of 1M various c:olcn af
      the bans on NSiatera. Mnemonfca are often afde8 to the mematy and serve students and Olhels to recaU speciftc details
      wfth sreater ease.
     OA lhfs item. the mnemanfc conl8fned a negaBva. violent and racial ftlfelenoe ID Afi'fcan Amarfcen mafesmplng women.
     1ba mnaman!c stated, •BiBcl( Boys Rape 011t Young Glds Bill Violet Glws WillnSfY Get Some Now.• AdcfilfonaUy, ft aJsa
     tn8Jces an objeatlfted lllfaRince to a woman (Vlofet) 1Mto fa purported fD ba promiscuouS. These sons of comments rouch
     on 8ftd concem lasuea of radat. sexual and/or gender harassment and dlscrtmlnatian.
     Item No.3 whlch was tiled Ute "Vosue May Sdlllotf partrayae~ a student ¥no aaass the hood of a pfdcup truck hc!dlng a
     paper where a latp phaDfo ~bal was drawn upon IL 1'hJs Item also~ an isaue of sexual or gender dJ&afmfndan
     by PGICraJin9 a male panJa In a clrawfng fn an enJarged and aratuttow c:haiactatlzatrun. This Item was poatad on lha me
     cqtnat In Racm NS-248.
     Uem No.4, ldentiBed as •2017 Vau Know You Want Juanl W poma)Gd a nuda acfultatudent who appearad 10 be LaUno
     In race. lila document lndfcatas lhat women might have same fann of 88XII8I deslte rat the lndMdual portrayed In the
     document. Tlda lndlvfcfual.as idefttlled as a &Went and the term ward ')lanr was a JoNng rareteftce co the Individual's
     true name. Juan. Tile ctoc:ument ~ •HtJflo LIJtll9tilln an apparent Joking lnvftallan to woman who mrght want to
     have same fonn of sexual c:antact wfth the lndMduaJ PGlfraJ8d lhesern.
     lt8m No. I. another dacumant lacaCad rn N&-248 postBd an thalnsfda of the door 8hoWB a aubjeCt lclentlfted generally as a
     &tudant In the PbJ*a and Engln8erlng Dapwfment etarlng at a large ft8m dlat states •IJit:k fiGI hBr /llta! Thelals a hash
     tag ramartc berow ltal Btat88 -tlblaclc cock 8WL• Tbla ll8m was malcfng refaNia to a penis and apecfllcelly the penis of
     an Ardoan AmelfAn.
     Item No. 8 was esam~ a awerins of a window &aoat8d In a dear that &eads to lho hallway hm Roam NS-248. This
     item llad lhe watd apeeJc a Btd wrftlefton It as well as •Jell!! halght In lnlluence." "Jan• was fdenUBecf by an lldel u5ewee
     as a former student 8881atant who was slat In etaiUra. This item &PP8818 ta have been posted In an1ar to make light of
     ..Jedft' hefsht as wall as her p&ltfc:ufar rnt1uenaa as a student 888lstant. Both of these Nfarancea can be eeen as
     d~ both lawanla the student ccnceaa&fl~& her ltefahL as wall aa her 1nftuence In the department aa female -.dent
     staff mambar.
     b) lsaaea ofPrafanlt¥ Ulldlor fntfaddallonllnapprapdulo Behavior Ratavant to Above Items

     Item No. 7 was a ,.,_ elGn taped to the cofleo malcerln the N9462 1abaratary dll88t'OOfta. Thfa atsn a1ates "'Jbm lhls
     Shll or. Thb 8f&n Willi &Ldlcatlve of a soemfna fGJamnoa fw PI'Ofanhv andlor2ntlmldatfon 1n the department. 1n addfUon
                                                             -Pages-




                                                                                                                 Exhibit A
                                                                                                                 P.S
                                                                                                                                     Exhibit 5
                                                                                                                                     P.S
Case 3:18-cv-02877-AJB-MSB Document 18-1 Filed 04/17/19 PageID.2550 Page 54 of 84

    Case 3:18-cv-02877-AJB-MSB Document 7-1 Filed 01/18/19 PageiD.907 Page 7 of 14




      ~CollloctDirtltcl
      ~of       r           RflllfC~Silldenrva. Gan:taWJa, 6eMfa. emiMdlzi6'M

      to tlds. Item No.a wao a sign posted above the sink In NS452 lbat Slated. •Do NDI. Leave Vosr Slrlt ill IIHJ Sbfk.D Again.
                                                      .
      lhls sign uses profanity and tendS to demonstrate Issues of profanity and/or lntimfdatlcm In the depalfmenl.
      Item No.9 was a stun posted above the coffee pat and s1nk area In NS-252 that states. "Stop AfaJdng Fucklng Tea in lhe
      KBII/81' Once again. tJdB B1sn matces refetel• to I&8U8s of profanity and lntfmldelkm In the department. AD of these siGM
      posted In or about the c:aft'ee pot. kettlelsfnk area wae both open ID bath staff members. as weD us Gludenl8.

      FlnaDy. Item No. 13 was a memorsncrurn wrilten and posted by Mr. Nakajfma thai conlalns llnatenlng language
      cosu:ernfng expelling a studanl fram District and ndnlns theft •life• over a missing FluJce mullmeler. 1bfs llem \WSieft up
      long after the meter had been returned and/or located and was seen as another display In suppurt of an fnlmfdatfng
      academfcenvfranment.

      4dd"'m'     Pspumanl! Aala!ant tp this fact Bndfag.
        ::~·.;                 ...1)-.lo':, . . .••       _ ... ·- ,•~AJ":{;• •.,:~·..r=e;~~~:: ~~'l!ii'!o~C.~' ··~:.".f.::~·;......   I,---=· •



                  --
          A      ~ 2301231    Student •eautronary LeW
          a               and Rldea for PbysfcS 230 Lab
          c          24. 2009 emal                    Mr.                                student
          D       ~1j 20GI Onf1eit States            af                          .OOR. Remon DC Letter to the Dlstrfct

      a) SyUabus, PJiy&lc:s Department Poftoi881Prooedures 8IUI Warning Materials
      As p8lt of &he lnveatrgaUon. the fBat ftncfar was provfded documenla Identified above as Document Hams A and B. Tbese
      ilema were seen as fnappiOiriJte 8ftd Dr. KalllkGta had Instructed faculty to cease using these ftam8 fn 2018. 1't\ese Items
      had bean placed on a noa-Dfstrtct webaae known as PCpepso.cam. which had b88ft created years ago by Mr. Gerwig and
      remains actfva CD this day.
      Document Item A was aed To Plly:dcs 2301231 sludtmls nm PIJytslcs 230 lltld 231 /n8INt:lGt& This bam appears to be
      a pctCion of a &)'Uabus far tha Physics 2301281 courees. A nmew of thf8 daamsent demonstraleS a rather harsh and
      thrualanfng tone. Here. the document lends to tiU8a1en 8luden1s who engage fn certaftl bahavfars 8UCh es ••••studying
      onty far an - - . trvtng to get a maximum SCOI8 wiUl a minimum efGrt. and dropping a course Just before t1ta cleadllne.•
      1be document sl8t88 •...we don't want to seo lhase Sbldents fn our cla888s anymore:          ·
      The docum8nl goes on tD make other negative and hatah camments making reference to &tudents that are "'azy'" or who
      "'dan1 want tD change ,aur bad study habit.. Ttds document              encourases
                                                                                  8uch students to "ggve yaur seat to someone
      e1ae who fa more aarlous than ,au.w Albugh It fs lau:dabta tD encaurage stuctents to 8C8d8mlc exad2ence and rigor, such
      camtneldary In a document aeama Inappropriate. Uu8atenfng and demanstrataa an unwelcam!ng c:ammant:my conoanlfng
      lhese ctaasea. Addlfana1ly, lh8 secand page of this dacument has an area that can seamlnafy be d8laahed v.tae1a a
      SIUdanl was r&rluasted to pllnt their name and slsn and elate the document agreeing to C8IIBJn terms. These tenna state:

              I (pdnf ycur namoJ teed lire BIBIBmsnts BbiW&. I am serious about my education and wBI foRDw the
              gu/tiBIInea gt,len abcwe. I will be VICIIdng lltf hatdetll to l8am the sub)et;ls 1om today. and ~ will dedtJe
              wlullher or net this class /$lor me wllhtn the lltal4 wse1ta. If I dO not dtOp by lh~t end of the loutlh weak, I
              w6J lfiCfJNe a ccursu grade ol wiJatavar JcftJseA8.
      This dccument requlreu a aranatura and states 11-thls shset Is to be tumsd In by Friday of tile t1ret waak of a semester.
      Any stuclant who faUad tiD turn It rn wBI be dRipped hm the CGUJUQ.11

      Hare. 1t appears t11at 11\o student 1e I8ClUinld eo &tgn Uda document and a. dacument tends to want to amend the otflclal
      c:auma drop poUcfea by lhe DI&Uict. 1he doc:ument cSbectly state& bit If a 8!Udent falls to agree wilh the luml8 of lids
      dacumentand stsn !n aaraament. that thpy would be c1roppec1 from the course.
      1n acfdWan to this raqubad sfanb10 aspact at the dGcumant. 81e document atso ata~Js how &Cudents wm be treated 1n
      claaa. In l8lavant part. 118 document states ....vau'H be treated exactly Ole way you treat ltds dasa. (f you W8ftl Co be
      ttoa1ad alcaly. traat this class and the prof88Sat nicely:

      This document tends to demouaflatu a Cllreatenfna and C11agr:GtUcato tone and requnc~ ataldenta eo 8fgft a                ctacument that
      tMywera nat fegaUy bound tD         srsn
                                      uncr. pain and~ b8!na dropped from the CGUJ88.




                                                                                                                          Exhibit A
                                                                                                                          P.6
                                                                                                                                                   -Exhibit 5
                                                                                                                                                   P.6
Case 3:18-cv-02877-AJB-MSB Document 18-1 Filed 04/17/19 PageID.2551 Page 55 of 84

    Case 3:18-cv-02877-AJB-MSB Document 7-1 Filed 01118/19 PageiD.908 Page 8 of 14




     Document Item a seems to be the Rules and Regufatlans for the Pllysk:a Lab 230. Tltls clocumant.llke Document Item A.
     has a threat8nln9 tane and makes reference CD 'lazy" sCucfents and encourages other studaftts to ~our lhOs8 SIUdentB
     Ulat they deem to be army: !ssenllally. this dacument gives autllority fer 8bKfent8 lo apply pear pressure In wbal
     appears to be a r8lh8r ceprldoua fa8hJon In detenntring who they subj8Gtively beHave Is being ._,.. and 8Ubfeclln9 that
     student to be fcned out of the fabOtatmy c:aurse.
     lronfcaJly. the cfocument atates In bold undedlned print that lhe ·-.lnatluclat Is not avallable to answer any quastlons
     regan11ng tbe lab during the tab period.• Again. the fnsUuclfan stlU8s • _Jf an)Cn8 wtlo Is not willing, capable. ot lal.y Is 1ft
     ~ group. kick th8l petSOn out from 't'IW' group.~~~ rn a ralher add cammanlary. the docum8nl goes on to state ••••thla
     sounds very cold. but uftte88 you don't mind losing ~Job because If that person does not do hlalher part, JOU have to
     team how to protect yourself.•
     Esaentlafly, Ole document and Its autttcW. Mr. Garwla and Mr. Nakajima. are encouraging SludeniS to aelf.salecl other
     students from whom they cllffer and feel might net ba OJ*'8Ifna or WOitcfnS to a particular atandBid. Essenti8Dy,
     Mr. NakaJima 8ftd Mr. GeMfa are allowing &tudanl8 to grade other students, something that Is anJy under the purview of
     Mr. Gerwlg end Mr. NaJcaflma as f8CuJly of the Dlarrlct. Thfs document. Jlke Dccumerlt Item A. contains a lhreatenfng tone
     and stves other students seemingly unfetlered aulhollly 1o prasaureand/or remove other studenl& from 11\e courae b wbat
     could onlybe seen 88 an Inappropriate clafegatlon of professorial authority.
     kftowleclse of tbe llatellals.
     One of the IBsu8S In this fact.findlna Investigation was to de!enntna whether any membe!s af ttce faculty had knowledse of
     the materiaJ8 that went posted. Althougb cfurfng a meeting on June 22, 2017. both Mr. Gerwig and Mr. Nalcalfma denfed
     seneral kncMiecfge of any of theSe materials, the fBc:ts In this mat1er demon8trate that both of these faCUlty used Che
     ctassrooana where these lema were opaiiSy and natotlously posted for afl to see.
     Even though these two facu!ly denied parCiculat lcnowladge durbtg this meetfng. and generaUy when lnteMewed by the
     fact flnder, the psa1sr waJsttt of the crecllble evfdenc8 clemonstratsa thai both Mr. Garwfg and Mr. NaJatlfma lcnew, or
     shaufd have known. about the PftJSGIICD of these documents. Both faculty kftaW, ar sbouJd IUive tcnown. thai d\ase
     malerlal8 were patently oftenalve, ll\cDnsfa1ent with tha Distrfcr8 poUGy ccmcemfng aexual8ftdlor racial dl8crfmlnatlon and
     fuJthar fncansfsleftt with lh8 academfo goals of lb8 Dl&trfct.
     The racss rn this mattar tend to cfemonsCrale that Mr. Garcia Wla. a newly appointed Assistant Prafeasor, was ganataUy
     unaware of these documenla, 88 he typtaDy did not use the rooms where the documents wete fdentifted. It appeared to
     this fact tfndet that these raoms W8ftJ ~and nearly exclusively used by bath Mr. Gefwf8 and Mr. Nakajfma.
     In adcDUon to the matarfala ldentlfled • pasted an waua and daota In tbase areas. both Mr. GeMit and Mr. NaJcaJma
     &ppaared   fD have been aware andlor even authored doCuments thal ware pfar:ed an an unaulhorirmS non-Distrfcl
     SPOnSCnd weblft8 1cnawn as ~• The farAs In this matter demanslrate that PCPepao was set up by the
     clepalraueut 8lld was loos8lr run bV 8tudent 888l8rsnls with know!edge of Internet taGhnotogy. This website contained
     document8 that pcrfBnd to be syUabl and I8Cilalfons of the depmtmenl's rules and ragulaUGns; howGvat. th8se 1tema.,..
     seen as offanslve, tlu8a!enfng.lnappropllata. and IncOnsistent Wlth DIStrict poUcy and/or 8fBl8 and/or feclelallaw.
     Concerning g8ft8181 lwMtactp of t1te mafBrfals rocated In raoma NW48 and t$262, lhe sraater weight of the credible
     evldenae demanstrates lbat both Mr. Gerwta and Mr. Nalcelfma were weD aware Gf the rnatmlafs that had been placed In
     t1t1a area. It appe81ed ta this fact ftnB that there had been a 98ft81'818Uituda of fndffferenca eo tooowlng the rutes of the
     District concemfns the ava!dance of 88IU8I ~ dl&crlm!nalfon and matntafnlng a wholesome siUdent acadamk:
     envfsalunent. It appeared that Mr. GaM!a and Mr. Nakajima routinely dapart8d fnm estabftahad protacc1s 8ltd proptlaty.
     and bad ruatstad changes by Dr. Kalikala.

     ~to Dr. Frnkenthal. both Mr. GawfQ and Mr. ~lma IOUtlftely, and contlnuaUy. used rcoma NS-249 and NS.                               ]
     262 and were often rn that area. evan Mr.. Gelwlg statsd that If he were looSclftg far Mr. Nalcajlma. he would look rn raom
     N&248. Far Mr. Gerwig and Mr. Naksjfma co claim omt they were unaware of the Hems that wera openty and notGrlaualy
     ~J&d there requlrQs a depurCwQ hm ceaaan. common sense Bncl rag~o. Cleady, they wme aware of these mateff8fa,
     · - either ~ the ftama thamsefvaa or dow8d and even encomaged othat8 to cto so. Tbes8 ItemS wete
     1tta~~;Jupo1ate, ~ raafal. aandar 8ftd natfGnal fdantity cllsartmfllatfo and harasament. and suppmted an tntlmldatlng
     and unwa~aamtns aaademlo envbonm&lt. Dr. Ffnkerdhal accurately ctescrtbad these aruas as ~ a -rrat house•
     &nvfraiD1Bll




                                                                                                                    Exhibit A
                                                                                                                    P. 7
                                                                                                                                             Exhibit 5
                                                                                                                                             P. 7
Case 3:18-cv-02877-AJB-MSB Document 18-1 Filed 04/17/19 PageID.2552 Page 56 of 84
    Case 3:18-cv-02877-AJB-MSB Document 7-1 Filed 01/18/19 PageiD.909 Page 9 of 14




      qtW8AflN!lAL                             •
      PlbiDIJI~Coltaao'**'
      ~olhni\J          r   aRep~:~ Straa~tc         Gial:ta-. GcftldasmiNalle/lllla
      Dr. Kal1lkcate told lhe fact ffndar that Mr. Gerwig and Mr. Nalca1lma had baan lnsubonlfnate ro her cllrecllan to remove the
      materials from the PCpepso webalte and to refrain flam uslng the c1ocumen1s cancemlng their c:tasses. Mr. Garcia Villa
                 or
      was aware lhase dtteclfans and never used these matertaJa. as dfracled by Dr. KaDlkcle. Even so. Mr. NakaJlma and
      Mr. GenMg c:cntlnued to aDow the PCpepso webafle to funcllan. dalmfng they wn unaware haw to o!oslt lha ffnk and
      dlsaDGw access.
      In summary, even though Mr. Gerwig and Mr. NakaJima deny knowtadge of Usa afolementloned matedata found In faOIIIS
      NS-248 and NB-262. the greater weight of lh8 c:re:6le evlcteRca cfemans1rates Chat they ware aware of lha maiBitals,
      af!owed and/or palffcfpated fn thefr poatlnp and clf8pfay, and were untruthful concerning Chair asaertrona G1halwfse.


      Mr. Ganda VUia

      1. PCPepso Website Dacumenl8

      Mr. Garda ViDa said that he was aware of the PCPepso website. Mr. Garda vma acknDv.dadged lhat be had never used
      the documents CGII18fned Oft this Uftcfficlal websft8 set up by Mt. Gerwig In Che Pl\y8lcs aRd Enafrtaerln8 Dep8ltmenl
      Mr. Garda Vila t8C8Ued 11181 Dr. KaflUcole bad admonfsbed hfm, as   wenas Mr. Gerwig sftd Mr. Nalcajfma. not to use these
      dGcuments. Mr. Garcia wra ra a~ Asaldant Professor wcn1ns fuiJ.Cime In the fast year.                   nappear8d ro the
      facttlnder that Mt. Garcia VIa abfded by Dean KafJJkoJe's dlrect!an and dfd not uselheSe documenls.
      2. Offensive Materials In Rooms NS.2&2 and NS-249

      The facia tend to cktmausbate Cllat Mr. Garcia Villa was a retaUvely new Prafessat in the. Engfnaerlng and Physfca
      DepadmenL Mr. Gan:fa wta taught c::fasses. as well as a lab pCitfan in support of Ids tecruse COUIS88. Mr. Garaa ViUa
      bdc8ted thai same of Uta materlala lhat W8f8 ldenllfted as ltema No.1 through 13. above, ware praoed ln the lntsrior
      8J88S generally of Raam NS-262 and NS-248. Mr. Galaa vma said that he dfd not utilize Room NS-248 and was l'8r8ly In
      that area. lnlerednSIY. Mr. Gan:ia wra eeemed more fOJthrfaht c:oncemfng hts obseNattons 111an Mt. G81Wfa and
     ·Mr. NakaJima. who are known to utilize 111888 roams on a frequent basis. There was no lnformatfan to conclude Chat
      Mr. Garcia vma was aware of the men cdfenstve matedBSs located rn these 1001118, nor that he padlclpaled amfiGr
      encovrasad tMfr cDsplay.
     3. Truthfulness
     This fact finder found lbat Mr. Gerda vma was a cradlble w1tnoss In Uds rnaler. There was no crediD evfdence to
     conduda that Mr. Galcfa   vma  had been untruthful In Ida statemants to this fact ftnd8r whan queaiiDned concem~ng the
     documents on 818 PCpepao website 01 the otrenalve material that was found to have been ~ fn Roams NS-262
     andNI-249.
     Mr. GaMrg and Mr. NakaJima
     1. PCPepao Webslla DoclllftGidS
     The faa& In Ida matter cramor.st~a~&lhal Mr. G8lWig bad developed Clio PCpepso website. ThlD website was an unofftclal
     District weba1ta that 08ltafft members of the Phys!cs end Engineering Department used to past matatlals. such as .,uabl
     and varfaua ndeB and IIUulalfonl. 8omd of these material&. kfentiffed aa Document uems A and B. above were fclenUft8d
     as b8Zna problemallc and bmpproprlate. The facts daman&trate hll ln 2018. Or. KaiUicola dlrectad staff that lhasa
     cfccumanta not be used clue to a. ~te language and fDne amtafnad tl1erefn.
     Even so. these doc:umerds l8m8fned an th8 website and W8f8 seemlnaSy avallabfe tD atucren1s even ~hough tbeJe was
     fnsuBfclent credlble GvldenC8 to show 11at 8Ufent8 wete purpase~y dlracted to this W8b8le after Dr. KaDDcate'G drracUon
     not to do ao. Mr. GtJS¥Ag was ~ for malnlaJnbta thla websttD. but claJmed that he waa unab!a to access lhe
     wabsle tD make any partfadar chanpa as Ids task l1ad been aaafgned eo pruvtcus students who BCI8d as -we~atnastera.•
     Tb f8CIS cf8manatrated though Chat Mr. G8Mfa made no rua1 effn fn allemptlng tD caNact or take steps ra remove Che
     documents flam the websla after clfreclfon had been given tD l8mCMt Document Items A and B 1om tho websfte by
     Dean KaiiDco!a.
     Document ltems A and B were documon1B that seemfnsly were created by Mr. Gerwfa and Mr. Nalcajfma vmfoh. taken
     tauather. farmed a a,uabUS fat students for the Physfcs 2SO and 2S1 class 1natructron. 8oth of these dacumenta
                                                             -Papa-


                                                                                                                txhlbitA
                                                                                                                P.S
                                                                                                                                     Exhibit 5
                                                                                                                                     P.8
Case 3:18-cv-02877-AJB-MSB Document 18-1 Filed 04/17/19 PageID.2553 Page 57 of 84
    Case 3:18-cv-02877-AJB-MSB Document 7-1 Filed 01/18/19 PageiD.910 Page 10 of 14




       contained harsh verbiage, refelred to students as beln& lazy and essanuaay encoLCJBS8d atudanls to take negaUvo 8CUon
       against other sludsnts. Fot rnstanoe. Document Item B states In retatlva part. , a membBt ta not wmtctng or contrtbuting
       for the group. 1encourasa you to ldck out thai student.• Here. the c1ucument purpw to aHGw and even encourase to take
       retrebutfon oa other students that they feel might not be "cantrtbut!ng" to a graup efb1. Clearly, lids sort of peer ptB88Uf8
       rs lnapJUOPrfate, as the f8adty member 8hoUid decide as to Whether a student ra putting bth 8ldfiCfent etrc1t En a graup
       envZnmmenL rt appeared to tlds fact finder that Dacument 118m a attempts to relaga!a the eludes rl a faculty member to
       peer studenta conoamfng the perfonnllnl:8 of otheftJ.
       Addltfonallr, both Docament ft8ms A 8ftd 8 make tefamnce to lha term "'azy.a Whereas lazfnass Ia not conslder8d a
       laudable flail cancem1ng acaremro perfarmsnce, such language and negaUve cltaJ&ctertzBIIons seem lnapplopdale In a
       ~ ecademto crocument 8UCh as these purpart to be. It was cfear to tJda fact finder that based an tl1e greater
       weight of the cndble evidence th888 docUment& ww created In coUaboratlcn betWeen Mr. GeiWfg ami Mt. Nak8J!ma.
       Even though Mr. Na1c8Jfma attampted to dafm some psedacassor had aealed Document Item B descrfbed as the
       RegulationS and Rules for Phystcs 230 Lab the facts tand to cfamonstrate that this Is not lrUe. Mr. Gerwig seemed to
       recall that he end Mr. ~had ctaftecllhis document lagether, and the pfafn evtdence In the doc:umeftt demonstratss
       that lhe only lnstrucfaiS refm8nced In the documanl      were.
                                                              In fact. Ur. Gelwfg and Mt. NatcaJma. There was no reference
       to any other faculty within this dCCUment.

       aou. Document Items A and a tend to cfepart from the Dlalrfctls code of ethics. These Hems do not tend to encourasa lha
       free putBult of reamrng Ill their stud8lds. nor do they demOnBtrat8 respect fer &1Wfents aa lndMduaJs. ln&Cead. th88a
       cfocuments PNSGftl a hanlb and lhr8atanlna eane and encaurase 8IUdents to ensase In se!f.eefectlon by 'tfcfdn9 cur
       other atw1anta that they feel mtaht be .,_,. ar do =t •cf8sarva the same score• as they cro. Neither Mr. Gmwfg nor
       Mr. Nalcajlma seemad to uncia stand ar mafntafn their -proper rolea an Intellectual gufcles and caunsebs.a lnutead, Ch8y
       WftlftgfuDy de!egated lhefr 8Uihortly and dutfes to &fucfents to essanllaUy polfca other students 1ft a group envfranment.
       SUdl authorfly and encouragement ca 1eac1 to dlsesnus resuua. fnoludfng the development of cliQues. cllscrfmfnatDiy
       behavior and be8towtng of fnappsopdare 8Uthorily to lhoae who wm not wfetd that autharfly ln a prudential fashfon.
       2. Offensive Materials In Rooms Nl-282 and NS.IAI

       c;ancamtne the Gffan8lve materials locatsd in Ream NS-252 and Nl-248 EdenUflecl hBtefn as ltema 1 ltuDugh 13. II was
       dear to the fact tinder tbat both Mr. Gerwf9 and Mr. Nakajima W8l8 aware of lhese materlaJs. and had aasantlallr aUowed
       lh8fr display. partfclpated In 01elr dlspJay"ar were redlressly Indifferent to the dlaplay of these Items. The cfJaplay of theSe
       Items seams consfsbmt wllb Cha tone as demonstrated In the two doaumenla fd8ntlfted as Item A and Item B abcML Aa
       Dr. Ffnkeftthal dascrlbed. Mr. G8lwfs anc1 Mr. Nakajima encaurassd a -rrat ttouW environment 1n the department and
       seemec1 to allow and encourage cUscrfmfnataly betlavJar, aa clfapfayed 1n lha&e offensive matenaJa. and encoumse cdher
       atucrenta to partfcfpala In this WJansfuJ conduct.
       Balh Mr. Gerwig and Mr. NaJcajlma cfa!mad t11at they were unaware of the mora dJscrfmlnataly aNI wnmgfut documents.
       However, the graater wetgl\t of lhe ct8dlb!e evfdenGe, aa described above unclar SectJan XAS. cfemonshtes that IIley
       wara wall aware of these Items, but refused to aclcnGWtadge lhefr pt8S8nC8 fn some attempt to evade cu2paiJWty for either
       posting these materlafa ar aBowfng ttterr students eo mso. Many Of these ltema appear to have been potentldy crafted
       by atucrenta that wese fn the Pl\yalca and Englneatfn8 Department.

      AI!Gwlng thase lt8m8 to 118 created and lhen posted !n the clepastment demcnsttated that Mr. Gerwig and Mr. Nalcajlma
      had atven lbelr Imprimatur far studen18 to engage In dlscrlmlnatoJV and biased acllvltfes. Indeed, some of the Items that
      had been fd8dffed In the roam lhat Mr. Nak8jlma and Mr. Garwtg often used (NS-248) and apecft1.cdly tha •carboft
      reslst8nt mnemanlo l8amlrta aid demonacrata a complete departure flam the Dt8trfcfa mandata of pnMdlng an academic
      envfraftment tee Of ~ con&Bnt and I'8Cisf8axlat &t8ruatypos. That lhase lt8ma went openly and natmlovaly
    • cfJaldayad In u. depastmual wh8l8 students aftan conaregated wau1c1 aeemsnasv encauraae students to engage 1n Slml!ar
      bat1avfor and It appears t11at they dfd 10.

      rn 8ddlllon to otMous daparCures fran tl\8 DIBirJat'a rules ~ dlacrtmlnat!on and hamssmaftt. 88V8181ltams, such
      as various stuns and notes located In raom ~2S2.ln or aboul the lfnk and coffee setvlce area cfl8pla)ted fcul tansuase
      and fntfmldatfuu oantantlhat was wholly lnappnJiid&le In a Pft)feaefonat academlo enwanmunt. The tdsa lhat Mr. Gmwfg
      and Mr. Nakajlma were nat fully aware of au of these ftema Is absurd. The District has rutea conoemfns sexual
      harassment and lnUmldaaan. B.P. 3430 lflahlbiHDn of Harassment states In reJavant part:
               Tho I'JIBttlt:t 111ra11 1» tiue f1l ..,., hllnl1ltlment an11 a11 Ianna or B8XIIal lntimldatlcn and ••ns .,
               lnt:ludltrg acfs ols&JIIIBI vlatMc8. II tlhall atao be 6uG otot11sr unlawlrd laaam8114I/JIIIIIIIIntl t11at WIJ1ch 18
               basad Gil . _ , of the abltcndtg staas: tac:D, m6sfoua Cl88d. CDfor. nalkmal OIWn. ~ physical

                                                                  -Paso a-



                                                                                                                           Exhibit A
                                                                                                                           P.9
                                                                                                                                          . Exhlbit 5
                                                                                                                                           P.9
Case 3:18-cv-02877-AJB-MSB Document 18-1 Filed 04/17/19 PageID.2554 Page 58 of 84
   Case 3:18-cv-02877-AJB-MSB Document 7-1 Filed 01/18/19 PageiD.911 Page 11 of 14




                 tn.abll4y. IIHHiltll tiJsablllly. madlt;s/ contliiJon. genetic lnfatmation, matltal status, sex, gender. gender
                 ~ gend8r 8lQIJINSIOn, age, Dt Sllxual C11lenlaiiOn of any pen;on. ot because hBIIIre Is peroe~wt~ fD
                 have one or mtl18 of the fotegolng t:IJataetei!Wc:&                    •

         ln addHion. the District has rules oonoemfng senend haJas&ment that wou!d be based em a fe&aUJ recasnfzed ptOtected
         Cllat8ctertsUc. A.P. 3430 PraiUbWon of Hai8Ssm8nt &18fBsln retavant part
                 GeneteJ Harassment - Hatassm8nf ba$ed en nM». t8lsfous ned, calor. IIBIIonal Gdgln. em:est~y,
                 phYtJ/Cal dlsabiJJfy, mental dlsabBily, medk:al condilloft, gen8llt: ~ mtJtital status, gendar. , . , . ,
                 idfmflly, gender~ se.w. Bf8t            or__,       ctl9ntatitm of any petSOn. or fhe pen:eptltJtt that a penson
                 has one or lftlriV of lh888 ch8nJctetiBilcs It lllegsl end vfGlatea Dlsltk:t policy. Gendar baSed lranJasmenl
                 does no1 nBC8SS8dly lnvtJiva conduf:t that Is sexual. Any hoslile or olfensiVa condut:l basstJ on gandBt cen
                 t:Oit8tllute ptO/IIblled harassment.
         ~     fran theea harassment aRCI clleafmlndan        n.~rea, the   Dlatrtcra mission slatem8ftt requll8s 1dl]versfty ln leamfng
         envbanmeftts. phllosophfes. c:ulutes, belfefs and       peop~e•     aa well as 1IJndus1ven888 of Individual and coOacUve
         ~ewpotrda:                               •
         AIUcle 3: Code of Elhfcs of lhe ConsUtutlon of the Facuttr of Palomar Collage 8laf88. In teltvant part
    ..          F8cufly lll8lllbsts have an obligation to lhtl IJisltt;l. their sludenl.s. ~ ptO/fJIJslon. lila public and
    !•          llrsmtieltlet to malntafn the h/gheal standalrJB of eiNt:el cont1uct In tecogn/tlon of this obllgatkm. laccd(y
                lltllmbets adopt th9 fo/JCvllng 6IBndtltds ol91htt:a/ conduct Adspted tim the Amstlcan Assod&tkm ol
                UnlvB181ly Aalfssscn (AAUP) Shlt:s Statement.
                1. PTOINsonl. tut:OgtJiz/ng lheltaodsl f8I1POII8/bllll
                    • Develop end 67pDw SllhrJIBtly competence,
                    • Sren:IB8 r:diJr;a/ se/1-dlst;/p/lne endjul/gmfJIJf In lransmJIIIng ktlowJBtlgo.
                    • Pret:flt;e lniBI18cfUal honesty.

                2. ~-tBecllenl:
                   • Encourage the tve p&llflUit of leaning In thefT studenls,
                   • DemonafnlfD lfiiiiJBfJI for Blutlenls as fndivltJuBI8,
                   • IOiep to tJ:etrI/IOPfJIIulas as intlJIJSt:tllal guides and c:ounaelom,
                   • EwJiuBIB atudsnts In en Utrblased mama.,.
                   • Respsctthe c:tmfld81rtlaflly ollillltl8niJI,
                   • ~ s/glllllr:tJIII or SllhrJIBtlyass181anc8 6am sfudenta.
                   • Do nat . . . hara88, f6dlsctfmlnata ags/nsllhe!T8fulfenfs.
                3. Pmle8801'8, • colleagutJs:
                    • Do not dlat:tim/nat8 agalnsf or lltJrtJ8s CD//8agu8s.
                    D  RBtlpactiJitd defenrl fM M /nquflyof 8tiSOdal&~
                    • litchange t:tltltJism and Me-.
                    • Aclrnowtscts& academlo debt.
                    •   StnW to be ob}BI:INe In the/1'~/lltlfmtnt of c:oBeagues.
                    •   Acceprlbal1 abate ot fac:ully t88ptJIIBibi1l/  rar sowmance
                                                                      th9    otthelr iNJIIIuiiGn.
              • 4. ~ aamembela t¥1111t acedemto lnsfllullon:
                   o Beet ID bs el1ac:tiVa te8Chstatllld sciiOiata,
                   • Uphold~ t&edom,
                   • Malttlalntbei' tight to cdtlt:lm &nd SOfJk18Wslon,
                   • SMt duel8gSI'd Co lltell ~ wlllrln 11!8 lnstJtullon when GONJfdeting lflrmlnBIIGn af
                     #heir~ glwJ due nota dfhell'lntenllona.            •
                5. Ftctb SSGt&t a mendJeta ollhelr community.
                    •   ~Bped or act aB pdvatfJ pel'liGIIIJ avoid Cl8at/ng lhe lmp/8fJtJlon of spealdngor act1nt1 for
                   •    Aamote l8e lnrlcdly and futlhsr publlt: undatstand1ng ofacademic ftetJdom..

                                                                 -Paaa1o ..


                                                                                                                     Exhibit A
                                                                                                                     P.lO
                                                                                                                                           Exhibit 5
                                                                                                                                           P. 10
     Case 3:18-cv-02877-AJB-MSB Document 18-1 Filed 04/17/19 PageID.2555 Page 59 of 84

        Case 3:18-cv-02877-AJB-MSB Document 7-1 Filed 01/18/19 PageiD.912 Page 12 of 14




          FJnaUy. S.P. soso lnstllutlanal Code of anics &IsleS that 1tlhe DJ&trfct Is committed tD the hfGhe8t ethical atandards fn
          fwtharance of our mis8laR of educatlcm ~ publfo service:
           &celtanc:e In teachln& leamtng. and S81VIt:;o
           lntetPifv 8S lire foundation ftJt aiJ- do
           Access to our P1Ct1f81M end 81J1Vk;es
           EquJy and f8lt tteatment ct all In our dally /ntenlt:tJonl
           DlvelaiCV In 18amlng e~ philosophies, cullut8s. bellela, and PtHJPie
           Inclusiveness of lndltlldusJ end oclleCtlve viewpoints
           &fulual t8Sp8f:l and lnlst tlftrJuglt tranepBI8ncy, t:Mlil1. and open oammunlcallona
           ~ami tnnovatlollln engaging students, lacdy, stall. and lldtnlt*ttatotB
           Pllys/callltfi$IJIIC8 and pattltJipaiiGn In the c:ommuniiY'

           Hele, Mr. GetWig and Mr. Na1caJma departed ftam the Dl&triara antJ.harassment and dlscrfmfnallcn ndes and further
           vfotaSed lh8lr cWtfe8 as faculy ofJbe DJsrrcct. It was ctear, based on the graaterwelght of the Cledlb!e evfdence developed
           In thla lnv.estfgatfon, thai boSh Mr. Gerwig and Mr. NatcaJfma wete aware of the use of the tnapproprfate doaumenl&
           ldentBied as Document Items A end a. above as well u the offensiVe maleffals 1oca1ec1 In rooms NB-2A8 end NS-252.
           Their lcncMdecfGa of a.se lema damoNab8te8 a laOk of pnadentfal Judgment and reddass fndlffelence to tha nde8 or the
           OJ98Q1zalfun that mean tD prevent dlsafmfnatlon, tauasament and pramote an open and welcoming 8C8d8rniC
           envRnment.
           rn addilfon to Mr. G8Mig and Mr. NaJra.I!ma's vtafatiaiB of the Dfatrlcl's ndes concemfn9 halassmant and dl&crfmfnadDn.
           as weU as lh8 btesch of their etldcal duties. It appeared dear dud they both had raaJared and bad acted in a spitefut
           manJ18r tDwards thefr auparv~sor. Dr. KaBtlcale. Dr.l<aDDcole fnfonned lhe fact fEnder that student teVIew8 for
           Mr. Nakajima's c1asa contained negative references to Dr.       KaDika!e that she atlrtbut8d    to oamments by     Mr. Natcajlma
           made to stud8nls.
           fndeecL Dr. Kamlco1e Is conact fn her assumption haN as Mr. Nalc&.Jma aclcnGwladBed that he had tDid S1Udent8 that
           80m8llow Dr. KaDikDie had pramf&ud addillonaJ ~ but ltraraaftar tl8d reneged on that pramlse. Mr. Nalcalfma
           fndlcaled that atucrents were upset by thfs news. Mr. Natcalfma appeared ro haV8 tald sludeniB this c~eroga~cry lnformaUon
           abaul Dt. ICaDikd8 rn order ID bold Dean Kal!lkda aut to hatled and ridfcufe by Ids &ludents. 1bele was no 1eg11mate
           bu&tnasa raasan ror Mr. Na1caJma to 8ha8 such lnformatf:on wfth Ids 8IUdents but far to cause students 1o be angry at Dr.
           ICaWkDie wtUI whom Mr. NaJcajlma had cfiffered and had aallvely rasfsted as a subodnate fnstrudar.
           3. Sludeftt MaUer -Mr. Naladfma

           The facts In this matler demcutaate tJVJt In ApfU 2008 the Physics end Engineering Department had been lnvaslga!ed by
           the United State& Deaatmant of Edlrmttan. OtRce at avu Rfatds (Dccument Item D) cancem~~ss a vfo!atlan of lh8
           AmeJfcans wBb Dlaabftftles AIL lmm8ciJat8!y U\eleafter. members of tha Phyufcs and Engineering Department weru
           lequtrad to undergo sensiUvlty lraf:1lng ln educaUan CDSIOBiidng the           ADA. and the Idea CGftC8mfng raaaanabl8
           accammad88ans In an academlesettfng.

           Dr. Ftnkardhal ptOVfded a. fact ftrufar with an eman e:aitai~SG. Ducument Item c. between a student and Mr. Na1csJ1ma.
           Thts emaB fndlcaf8a lhe student. wt.o bad a dlsablfliJ and used a wheelchafr. requested an accommodatiGn ooncemtna
           lhe Physics 2SOcourae and Is required Jab section. The student waa afearly 888ldng eome form of accammodalon when
           he wrote., was just WORderfnB hoW trdle you would ba under ex1reme cln:um&tBnc8S.o

           fnstead ofwortcrng wHh the stud8ftl andiGr refarrlng tdm tD the lll&tltct's OlaabBily Resource Center. Mr. NalcaJlma wrote
           back to the student advlsfns hlm to take Cit .GOO mBarams of Vllam1n     c.  mu!tivftamfn. and Coa-10, 50 miBlgrams ar mma
           avery day, starting rfiJht fCGW.• Mr.~ rufusBd ID entertain any &Grt of reaaonable sort of ac:commoclatlof far the
           student's c&sabttlty 8ftd wtOialn re1awnt ;art. ., C81fl stve you an exira traatment. bullf vau start taking C8l'8 of yourself as
           I~ )CU &hauld be cfGinS betlerthan a regutatsemeater.a

          Here. the D1atrtal. per 8ecfan &04 of tbe RuhabUlbstfan Aol of 187S and Tilt& II of the Amerfaafta with DlsabUitlas Act of
          1880. Is obfaeM to lftVIda aaaammodat!Dna tD enaura the stucrenrs equal acaesa ID U&e DlslrCal'a PICI'I'8ID8 and
          ac8v111es. It Ia the &tud8nt'u f88POII&tiiBytD notify fn&tluctDrs Of the nBed for accommodatfan9 and daeafter the fnsbuatar
           Ia I1IQUfred CO l'8fur tho tiCUdant lD the Dlllabllly AescMne center and wade with the 8CUdant fn ardor Ia pnMde IB8SGII8bta
           ~ In thJa ~ns~ance. Ur. NakBJima fakd In his aNfsalan tn regard to lhJ8 . . . . . dfsaldlly. fn Ids aaso.
a          the 8llldet4 used u wtJ a ·:hsla, yal Mr. Nakalfma p&llpOJted to give tl\8 student advice on taJcq vitamins      8a
                                                                                                                           opposed CD
II
                                                                    -Page11-




                                                                                                                         Exhibit A
                                                                                                                         P.ll
                                                                                                                                               Exhibit 5
                                                                                                                                               P. 11
    Case 3:18-cv-02877-AJB-MSB Document 18-1 Filed 04/17/19 PageID.2556 Page 60 of 84
0


       Case 3:18-cv-02877-AJB-MSB Document 7-1 Filed 01/18/19 PageiD.913 Page 13 of 14




          G9"'!"'7'BL
          =~c:,=~~Anc1nJm0118Studtmva. Garcia VlfB. GeNII& BIUINBilfJJitna
          engaging In m8Bidngful cammunrcat~on concerning the use of the DfaabUlty Resaun:8 Cent8t and the aUowanca of same
          fonn of reasonabte accommcsdatlon. as requfred by law.
          Added to thJa, thf& exchange occurred only months after the Ph,alcs and Englneelfng Department had undargana an
          lnvesUgaUon CGftC81ft!n9 the very same sort of Issue. Mr. Nalcajlma and others had been lnteMewed In lhJa mat1ar and
          laSer had received trafnlna cotamfng 1118S0nable accommodatfon requests. Even so. Mr. NaJcajlma faled to provfde
          lhasa required 8teps fn pal8ntfaDy ~adatfng thf8 dl8abfed 8tUdent.

          4. Truthfulness
          Hare, tha gmatarwefgtlt of tM crecUb!e evidence cfemonstrates that both Mr. GBNifs and Mr. Nakajima fafJad to ba lrUihful
          1n their atmemen~S mthe fact finder, as weU as their stalements cturfna the June 22. 2017 meeting with orstdct
          admlnt&ttalcra concemfng the offensive materfals locatad In rooms N&-262 and NS-248. Aa detded above. the greatsr
          weight of the aedJb!e evidence demonatrateslhal both Mt. Gerwig and Mr. NakaJima had Jcnowfedge Gf the materials that
          were dlsprayed openly fn areas that lheyfntquented on a near daBy basis.
          The facia W8l'8 dear tbal hath Mr. Nakajima and Mr. Gerwig were often localed ln and using rooms NS-2&2 and NS448
          and were f8880318bly \WIJ aware of the ft8ms that ware posted on dams In wtdch thav would pass and on watts In areas
          Utat they often frequanlacl. Their claims that lh8y were unawara of these Items appear to this fact finder to be dlrecly
          untndhfu1 and otremd mere1r for the PUIPG88S of evading cufpabflltv far aRowEng and/or encaurustna the postrng of such
          ttems.
          Here. both Mr. GaJwtg end Mr. NalcaJima have failed tD ~pt thefr share of faadty responstbBlty for the pvema~aoa t1
          theft fnstltulloft• and apraa~~ce lnteUecb tat honesty" as requlted by rhe Conalltutlon of the Faculty of Palamar College. B.P.
          3060, Cha Dfstrfcts lnstitutfaftal Code of Elhfcs, upMtds -mntegrity as the foundatlan for all we do.• Here. both Mr. Gelwt9
          and Mr. NafcaJfma faDed to d8monstnite bUesritY concemlng thafr discussions on June 22. 2017. and then later when
          dJna:tly quaslaned apacfftcally by the fact finder when questfonad during lhls COUtS& of Chis fact.flndlng fnvestfgdon.



          cr..,
          These appearud. basecl an the fnveatfsatfon. Co be a pattem and practice of posting andiGt a!lowfng lhe postfns amt1ot
                  of abJ8dfanald8 msterfal fn or aboUt the IOGIIIS used by Mr. Getwfg and Mr. NalcaJlma. The fact ftndar det8rllltned
          that Mr. Garda VDJa. who was Nlatlvefy new tD the Department. wau generaBy unaware of lh8 flue nature of the mat8rlafs
          thai had been dlspla)4ed. Howaver. bath Mr. Gerw!g and Mr. NalcajJma bo1h rcnaw. or should have lcftawn. lhat lha
          mBIBrlals posted fn the af!c8s and nmms thai lhay used on a consfsleftl basis wate fnapplopdate. otfenslva and
          cBsafm!nalary In ftBIUI8. and yet they aUawed 1118 materials to rematn.

          1he fact tlftder also determ!ned that It ~thai both Mr. GeMig and Mr. Na!cajfma both pnMdecl faSse lnf'otmatian at
          a meatrng on June 22. 2017 wherein they disavowed ~ of the documents that weN lhe suiJj8cl of thiS
          bwesUgatton. Indeed. bo1h faadty tafd the faat finder that they were largely unaware of the mateftals. or had no
          recolecUon of having observed them. These statements W8l8 Inconsistent wl!h the fects aa dlac:overed In this
          lnvaatlgatton.
          In 8Uftlftl8ly. based an 1118 SJ88IBr walgbt af tha credlbre evfdenco. It appears that both Mr. GeMfg 8ftd Mr. Na1csJma were
          or shcufd have been aware that materials that W8l8 deemed objeclmnabfe, offensive and dl&c:rlminatory 1ft nature had
          been~ and/or aiGwed to be displayed fn oflces and 8ChGoJ areas under lhefr damfnJan and controL Ewn thoUgh
          ball praf888018 fetsned Chal Ch8y were unaware of these matar1a1s. the SJ88W walght of the csedlble evfdanGa
          clamGftatratas that theywete 8W8I& Gf tba materfaJs. and aJfowad them to be dlsp!ayed ln lha 8188. 11tla behavior binds to
          ~ Ul'dMICamtng conduct by Chese Pf(lfeasora, as the materfafa W8l8 seen as ob)donable. rnappaopatata and
          dfscdmtnatoly rn nature.
          AddlUanaiJr. the fact finder found that faGidty member& of the Physlca and Enatneerfne Department used a non.Oiatrlcl
          WBbslt8 ln arder to clfssendnate a syllabus and othar cfocUmenla that &ludents were required to rvad and/or sign and
          retr.rrn. Th88e ctocumanl8 ware seen sa wamlnfl documen1a that admonished students CD=umlll9lhelr atuc1y babltB 8ISd
          how to Interact with alh8r 8tlldents. These wamlnp and lnSUUCIIona appeared lftcanstsfanl wUh the OlatrCat'8 pal In thafr
          8tfucatlonal pursufta.




                                                                  -Paaa12-



                                                                                                                       Exhibit A
                                                                                                                        P.12
                                                                                                                                            E~hjbit   5
                                                                                                                                            P. 12
Case 3:18-cv-02877-AJB-MSB Document 18-1 Filed 04/17/19 PageID.2557 Page 61 of 84
 ·''
       Case 3:18-cv-02877-AJB-MSB Document 7-1 Filed 01/18/19 PageiD.914 Page 14 of 14




         CDI!I&DIJM'IAL

         ==~~ Sludefttw. Gun*- GaMf& BlfdNtlltiJ/Itlta


         Baaed upon the lnvestJgatD(s 888essment of lhe ~nteMewees· credlbiJity and clocumeldaJy evfdence, lhe buRien or
         prepanc~erance of evidence. which 18 required to uphdd c:taarga of unlawful discrimination and sexual harassment. ia
         sullcient to suataln Or. FlnJceft1hal's aDegatlons on behalf of U1e ananymaus student. The Dlstricra ~ve
         da!amdnatlon Is ther8far8 to !YIIIIJl the c:omplalnl aaafn8t Mr. Gelwfg and Mr. Nakajima and to il!rDia the complaint
         aplnat Mr. Garda Vitia. 1lds matter Ia hereby reraned to the DJstrfct'a administration for dlacfpftnaly action against Mr.
         Genv!g and Mr. NalarlJma.
         The 8Uagatlons wete 1eC8Ived and Investigated as an Informal complafnt. although the District en&UAJd 1ttat the usual
         Gtepa undertaken rn 8 farmat CnvesUgatiDft were fo!lclwed. Dr. Ffnkenthal and lha anonymous atuclenl have the rfShl to
         eubmfl 8 formal written oomptafnt of unla\tAUI dlsc:rimfnatlan to the District fn scaordance wlth TlUe 6, § 61328 eL seq.
          ualng tha fonn avalab!e on tbe Diatrfct wabslte at NIP:IIwww2.palomar.edulpageslhtlfi!e4107JDlscrlmfnaUan.
        • Harasamdnt~plabll-Fann-Web.pdf. The fonn ts also available at the Human Resoutce 8eMaea office In room ST-1.
         A wdttan comptafnt submltled In this manner may ba filed up Co one (1) year from the date on wt1lch the antawful
         cllscrimtna1fon allegedly occunecL
         The anon,maua student &fso has the rfaht co fila a complaint wfth Unlled states Department of Educalfon. OIRca of Clv6
         Rfatds.     lntbnnaUon regarding ffflng 8 ccmpfafRt wllh OCR 1s available on oCR•s website at
         htfp:/hwwt2.ed.govlabcUfiOfffceaiCCI'hfocslbGwlohtml or by calflng OCW8 oftfce at {800) 421-8481.
         RespeclfiSy aubmftted.

         Shawna H. Cohen
         Maltapt, Equal EanploJmerd OppartunBy and CompUance
          and Deputv Tftfa IX CooftBnalor
         Patomar Communfly Colleae DIStrict
         November 1, 2017




                                                              -Page 13·




                                                                                                                 Exhibit A
                                                                                                                 P.13
                                                                                                                                      Exhibit 5
                                                                                                                                      P. 13
Case 3:18-cv-02877-AJB-MSB Document 18-1 Filed 04/17/19 PageID.2558 Page 62 of 84




                           EXHffiiT6
Case 3:18-cv-02877-AJB-MSB Document 18-1 Filed 04/17/19 PageID.2559 Page 63 of 84

    Case 3:18-cv-02877-AJB-MSB Document 14-4 Filed 03/19/19 PageiD.2410 Page 249 of
                                         298

     From: Cohen, Shawna SCohen·'Slpalomar.edu   tl
   Subject: FW: Student Complaint Today
     Date: February 22, 2018 at 2:18 PM
       To: Jeff Love lovejb@gmail.com


          Hi Jeff-

          Below is another email related to the Kailikole/Finkenthal investigation. It shows that
          on November 27, 2017, Dr. Norman advised Dr. Kailikole regarding proceeding with a
          student complaint brought forth by Dr. Finkenthal. I will add this to the others to print
          for the interviews.

          I've contacted both individuals and am waiting for confirmation for interviews next
          Wednesday, February 28th.

         Thanks,
          Shawn a


          s~~-~
         Manager, Equal Employment Opportunity and Compliance
         and Deputy Title IX Coordinator
         Tel: (760) 744-1150 ext. 2608 I Fax: (760) 761-3530
         Email: scohen@palomar.edu I Web: www.paloma•·.edu/hr



                   *
          PALOMAR COLLEGE"
            """"'a b Sr.acu




         From: Norman, Lisa M.
         Sent: Wednesday, February 21, 2018 5:38 PM
         To: Cohen, Shawna <SCohen@palomar.edu>
         Subject: Fwd: Student Complaint Today

         For Jeff Love's investigation

         Sent from my iPhone

         Begin forwarded message:

                  From: "Norman, Lisa M." <lnorman@palomar.edu>
                  Date: November 27, 2017 at 9:07:58 PM PST
                  To: "Kailikole, Kathryn L." <kkailikole@palomar.edu>
                  Cc: "Kahn, Jack s.u <jkahnl@.P-alomar.edu>
                  Subject: Re: Student Complaint Today

                  Hi Kathy,
                  Because this concern addresses possible disciolina.rv actions. I did not include

                                                                                     Ex. A, Page 248
                                                                                                       Exhibit 6
                                                                                                       P. 1
Case 3:18-cv-02877-AJB-MSB Document 18-1 Filed 04/17/19 PageID.2560 Page 64 of 84

   Case 3:18-cv-02877-AJB-MSB Document 14--4 Filed 03/19/19 PageiD.2411 Page 250 of
                                        298

            Daniel in the email.

            While I understand the concerns expressed below, these appear to be curriculum
            and instructional matters that would need to be addressed by providing due
            process to the instructors so they have opportunity to address the allegations. I
            understand the frustration in dealing with what sounds like their ongoing
            practices that is in violation of prior directives but we need to confirm that this
            is truly what is occurring. At the same time, we need to be cognizant that a
            student is presenting this complaint and make sure we follow any established
            process for addressing this type of complaint. If this conduct is substantiated
            then we will appropriately address it.

            I understand that students may not want to come forward for fear of retaliation.
            If this is the case can you or Daniel go observe these additional Friday prep
            sessions? By witnessing this conduct directly can substantiate what has been
            shared by the students.

           As you are aware, as administrators, it is our responsibility to address matters
           that impact the District that may create liability and deviate from our goals and
           mission. For this reason, placing the instructor on administrative leave with pay
           is not an appropriate remedy to this type of issue otherwise we may create
           precedence for why we would place instructors on leave, which is not an
           appropriate basis for an administrative leave.

           As a next step, please ask Daniel if the student is willing to place his complaint
           in written form. If not, you can still proceed in asking both instructors,
           separately, about the expressed concerns that you have heard. However, prior to
           doing this, I would highly recommend you or Daniel trying to observe these
           actions firsthand.



           Thanks,
           Lisa

           Sent from my iPhone

           On Nov 27,2017, at 6:00PM, Kailikole, Kathryn L.
           <kkailikole@galomar.edu> wrote:

                  Dear Drs. Norman and Kahn,

                  Please read the email below from Dr. Finkenthal. Both Dr.
                  Finkenthal and I believed that Instructors Nakajima and Gerwig
                  should have been removed from classes this fall especially given
                  their recent and past history in the District. I am re-issuing our
                  request that Instructors Nakajima and Gerwig be removed from the
                  . 1. • • .. • • . .   . - .. - -   . •   - -. . • • . • •. • .   l'   •   . •   • •   . .• 1   •   •   •   - . - ••.••




                                                                                                                                Ex. A, Page 249
                                                                                                                                                  Exhibit 6
                                                                                                                                                  P.2
Case 3:18-cv-02877-AJB-MSB Document 18-1 Filed 04/17/19 PageID.2561 Page 65 of 84

   Case 3:18-cv-02877-AJB-MSB Document 14-4 Filed 03/19/19 PageiD.2412 Page 251 of
                                               298
                Classroom as soon as pracncao1e. 1 want to maKe you aware tnat
                they continue to violate California Education Code and directives
                from Deans Sourbeer and Kailikole hence violating students' civil
                rights. I appreciate administrative processes however protecting
                students' rights is also our responsibility especially our most
                vulnerable populations. In a time of watershed moments, I hope to
                see the Palomar Community College District be transparent and
                humane in processes affecting both faculty and students. More
                importantly, I would like that in their actions, the District validates
                the numerous students who have had not only their voices silenced
                but their college pathways ruinously impacted by these instructors.

                I appreciate your time regarding such a serious matter.

                Respectfully,

                Dr. Kathryn Kailikole
                Dean
                Mathematics and the Natural and Health Sciences

                Palomar College
                1140 West Mission Road
                San Marcos, CA 92069-1487
                760-744-1150 ext. 2253
                kkailikole@palomar.edu




                --Original Message---
                From: Finkenthal, Daniel
                Sent: Monday, November 27,2017 4:46PM
                To: Kailikole, Kathryn L. <kkailikole@palomar.edu>
                Subject: Student Complaint Today

                Hello Dean Kailikole,
                I had a student come to my office today to make a complaint
                regarding our Physics 230 class taught by Professor Nakajima. His
                name is Nathan Uwin. I listened and provided advice as best I
                could, and asked that he make an appointment to discuss his issues
                with you directly.

                Nathan appears to be a bright and effective student with a goal of
                transferring to Cal Poly in Mechanical Engineering. He chose to
                enroll in Professor Nakajima's Phvsics 230 because the class fit his

                                                                               Ex. A, Page 250
                                                                                                 Exhibit 6
                                                                                                 P.3
Case 3:18-cv-02877-AJB-MSB Document 18-1 Filed 04/17/19 PageID.2562 Page 66 of 84

   Case 3:18-cv-02877-AJB-MSB Document 14-4 Filed 03/19/19 PageiD.2413 Page 252 of
                                               298
                                         <J          ..


                 schedule with the college swim team. He said he took the 230 class
                 "despite the reputation" since he had already earned an A in high
                 school physics and Math 140 here at Palomar. Today he was told
                 that he will fail the class and now plans to repeat the class at Mira
                 Costa next spring. Nathan's complaint is that the expectations and
                 requirements of the Physics 230 class are unfair and designed to
                 cause students to fail unless they repeat the class two or three
                 times.

                Specifically:
                *Students are required to take 3-hour plus long exams outside of
                the normally scheduled 1-hour lecture periods.
                *Students are required to attend additional "lab prep" sessions on
                Friday afternoons in order to receive necessary instruction for the
                lab scheduled the following week. Nathan has attended every lab
                prep session this semester and reports that if he did not he would
                have gotten a zero for the lab.
                *Students are expected to study and do homework for more than 20
                hours per week for this one class.
                *Students were unable to track their grade or standing in the class
                until today. Nathan and others received notice today that they are
                failing the class.
                *Students are discouraged from taking the class with anyone other
                than Nakajima or Gerwig since they will "pay a price later" when
                they attempt other physics and engineering classes.

                These complaints echo previous complaints, and indicate that there
                has been no attempt to reform the classroom environment in the
                Physics 230 courses taught by professors Nakajima and Gerwig. Of
                immediate concern is the requirement that students attend "lab
                prep" sessions and take exams outside of normally scheduled class
                times. All members of the Department have been previously
                notified by Dean Sourbeer that it is not appropriate to require
                students to attend exam sessions outside of class time. Last Fall
                you expressly forbid the department to require students to attend
                Friday Lab Prep sessions. The explanation in both cases was that
                these practices are not permitted by state education code.

                 The Physics 230 class is an introductory FIRST SEMESTER
                 physics class and is a vital gateway for students who are
                 considering a future in a STEM field. These ongoing violations are
                 damaging our students and our program, and it is un-conscionable
                 that the District permits them to continue. I am sorry to be a pest
                 but I truly believe that the only way forward is to remove these two
                 instructors from having power and authority over students. I have
                 also made this clear to my union representatives and the faculty
                 senate president.

                                                                              Ex. A, Page 251
                                                                                                Exhibit 6
                                                                                                P.4
          Case 3:18-cv-02877-AJB-MSB Document 18-1 Filed 04/17/19 PageID.2563 Page 67 of 84
·.•   .
             Case 3:18-cv-02877-AJB-MSB Document 14-4 Filed 03/19/19 PageiD.2414 Page 253 of
                                                  298


                           Sincerely,
                           Daniel


                          Daniel Finkenthal, Ph.D.
                          Professor and Chair
                          Department of Physics and Engineering
                          Palomar College
                          San Marcos, CA 92069




                                                                           Ex. A, Page 252
                                                                                               Exhibit 6
                                                                                               P. 5
Case 3:18-cv-02877-AJB-MSB Document 18-1 Filed 04/17/19 PageID.2564 Page 68 of 84




                          EXHIBIT?
Case 3:18-cv-02877-AJB-MSB Document 18-1 Filed 04/17/19 PageID.2565 Page 69 of 84

    Case 3:18-cv-02877-AJB-MSB Document 14-4 Filed 03/19/19 PageiD.2415 Page 254 of
                                         298




            4. Palomar College Police Department Report
                            2016-00138




                                                                  Ex. A, Page 253

                                                                                      Exhibit 7
                                                                                      P. I
 Case 3:18-cv-02877-AJB-MSB Document 18-1 Filed 04/17/19 PageID.2566 Page 70 of 84


 Case~       Case 3:18-cv-00Bii'Ol39\JB-MSB Document 14-4 Filed 03/19/)9 Page iD.2416 Page 255 of
                                                                                                      298
                                                                                     P:tlum:ar ( "u llc~ l·
                                                                                     I' \I 0\1 \H       < 01 I 1-.(;J
                                                                                     11-lll \\ . \!IS:-.Itl'\ IHJ \ll
                                                                                     :-, \ ' \1 \ IH 0:-.. ( \. 11!11<•''



Ca~c     Report
 !{cponcu B)           OFFH "Eit SO'O ro

 Incident Types Label                                                                                                            OtTcndcr                          Incident Disposition
 1'\FOit\1 \T IO'\ 0'\1 \                                                                                                        '\ u; \.11\ 1 \. "J.\1<;,\SIII    1:'\FO it\1.\TIO:'\ 01\'LV
                                                                                                                                 tSlSI'HTl                         l tE I'ORT
 Report Disposition                                                                                     Mctlllld of Rcp(lrting
 REI'OIH
                                                                                                        Rdat..:d N umba:
                                                                                                        211 1<•·llllfi2 J.H,:;
 Incident Occurred Date                                          Incident Occum::d End Date                                               lnctdc:nt Dis.:ovcrcd I Called In
 lW I'J/!OlC\at1113U                                             tl.li21 /!0 16 at    Ill~                                            fl.l/21f2fllb :11 Ill:'
Location                                                                                               Speerfie L11cation
 11-l!l \\". \IIS:-.10'\ IW.: S.\ ' \1.\RCOS C.\ \11' 1 S: '\":-, Bl.ll(;                              '\"S!:'i!
 Manager/Supervisor On Duty                                                                            Manag.:r/Supcrvi~or 1       otificd
                                                                                                       '\"()

 Repon Synopsis/Overview
  .\n (n,tructnr ()f••J'IIY!-oiC:-.-230"". l"aJ.:t,hi '\" \J..: \.II\ I\'"'' thill!! :1 h millimeter air,,fl ::un '"a p:tr! uf hb '""" ''tel· n:tm> in
  phy,ic' l~h ruom 'S-2:'2. Sllu.lcuh in th f ria" rcpor!ctl the l'\Jicl·imcnt nc:tlctl an llll>'tfc en\ irunn~t·nt.



           L~st       of contacts in this report
 RIWW'\, () \ 1.1. \S                                                        I ~E I' O IH I"\C I'I"R:o-O'i

 FIUE,D:-., :-.111.1.11\                                                     ltEI'OIHI'<· I' J: R:-.0'\
 \ " ' \.11\1\ . "I \1..: \ .... Ill                                        :--l:-.1'1-TI

                                                      Contact # l           (REPORTING PERSON)

 Full Name
 1J \LI . \S I!IW\\ '\"

 Age                                 Datt: of Blflh              Gentler                                 Race
 I?                                    11113119%                 F E\1 ,\I.E                             \\ "- \\"Ji l T~.



                                                                                       .             Addresses
 Address:
 1Uill   !",\(   Tl S 1'1..-\( 1·.

Icity                                                    State                               Zip                                 Country                                        Address~
 ESCO'\ llii)O                                           C\                                  ')2(127                             l ·s \                                         110:\f F.


                        (7(1(1)~74192
                                         Phones :
1(( 1\li'OilTF.I>J)


 Jd Type                                                                                                       IDNumber


                                                                 Preenrcd By:
                                                         llFFl\F il SO"OTOtl'lh      ~C)"(JTt   11


                                            Signature                                                                                      Reviewrd By/Date




                                                                                                                                                            Ex. A, Page 254

                                                                                                                                                                                                Exhib it 7
                                                                                                                                                                                                P.2
 Case 3:18-cv-02877-AJB-MSB Document 18-1 Filed 04/17/19 PageID.2567 Page 71 of 84


 Cas~" Case 3:18-cv-ilii21lo7:3&\JB-MSB                                      Document 14-4 Filed 03/19/ 9 Page iD.2417 Page 256 of



 Full Name
 S II EI.BY FIUI:\ OS

 Age                           Dare of Birth                       Gender                                   Rnct:
 I')                           (16/23/1')%                         FJ-:\1.\1.1-:                            W - \\'IIITL

                                                               .                     . , : . ,., . Ad~esses ~·
IAddress:
 126:\ STO\E DH

 C ity                                                   State                                  Zip                              Country
 S,\ '\ \1,\HCOS                                         ('\                                     !)2(17/l

                                 Phones :
 IIL\Il'ORTI:Illl ('J:ii )7{,U- JJI7

                                                                        ..   ~     . ·.-- ~-   Other . Id       ~UIJ!be.rs ..   ____ . •.   __
, ldType                                                                                                       IDNumber
 ~11)                                                                                                          ll IIJ7:'U'JN4

                                                           Contact II 3 . (SUSPECT)

 Full Name
 T\ h: \!--Ill \ \ l.:.\ .11\1.\

I Drivers Liccn'Se                                                 Drivers LicenseState                     Email Address
I '\liJS6Sh2                                                       C\

 Age                           Date nfBirth                        Gender                                   Race
 5N                            12/2-1/ 11)57                       'I.\ u :                                 \- \Sl.\ '\
 Hdght                         Weight                              Huir Color                               Eye Color
 :i(l')                            1·111                           111.1..:- B f..·\Ch:                     BIW- l!HO\\"'\
 Approx. Age                   Demeanor                            Build                                    Clothing
                                                                   \I Ell! I'\ I

                                                                                      _        _       Addresses        . _ .

 Address :
 1151. \ 11..\DO\\ l..\1..: 1-: DIH\ E

 City                                                    State                                   Zip                             Counrry
 \'I ST.\                                                C.\                                     'l!US-1                         I 'S.\

 Address:
 115(, \ I L\D()\\' 1 \1\ F DIU \ 'E

 City                                                    State                                   Zip                             Conn try
 \1ST.\                                                  {'\                                     'J!tlS-1

                                      Phones :




                                                                   Prepa red By:
                                                         OFF lCEil SO'OTO(I' I''          ~ O'OT<l l



                                           S iguatut·e                                                                                R eviewed By/Da te




                                                                                                                                                   Ex. A, Page 255

                                                                                                                                                                     Exhib it 7
                                                                                                                                                                     P.3
 Case 3:18-cv-02877-AJB-MSB Document 18-1 Filed 04/17/19 PageID.2568 Page 72 of 84


c ase •I .   Case 3:18-cv-iliU3iio1:~&\JB-MSB Document 14-4 !=iled 03/19/ 9 Page l0.2418 Page 257 of

     Digital Media # l
                                                                           Title
                                                                           3::!1').. 11'(;


                                                                           Description




     Digital Media # 2

                                                                           Title


                                                                           Descriprion




      Digital Media # 3

                                                                           Title



                                                                            Description




                                               P repnred By:
                                         OFFIC'!:R ~O'OTOII' Io SO'OTO o

                            S,ignature                                                       Reviewed By/Date




                                                                                                         Ex. A, Page 256

                                                                                                                           Exhibit 7
                                                                                                                           P.4
Case 3:18-cv-02877-AJB-MSB Document 18-1 Filed 04/17/19 PageID.2569 Page 73 of 84


Case li   Case   3:18-cv-OO~it'IM:3.&\JB-MSB                                                     Page iD.2419 Page 258 of

    Digital Media # 4

                                                                             Title



                                                                             D~~cripcion




 ORIGIN:
 On 04/19/16 at about 1030 hours, I received a radio call of a BB gun being used in a lab class at NS-252. The complainants
 were waiting for me at NS-147 office.

 Upon my arrival at NS-252, I spoke with Instructor NAKAJIMA. NAKAJIMA told me that he was not using a BB gun and that
 he was using an airsoft pellet gun to shoot at paper targets as part of his semester exams.

 I then went to NS-147 and met with RI P-Students Dallas BROWN and Shelby FRIENDS. Health Science Interim Dean
 Kathryn KAILIKOLE was also present during my interview with BROWN ana FRI ENDS. BROWN and FRIENDS were
 basically concerned about how the airsoft gun was being handled unsafely during class. They were concerned that there
 were no protective goggles and no safety instructions prior to handling the weapon. (See statements for funher details oi
 BROWN and FRIENDS statements. ) I then advised KAILIKOLE that NAKAJIMA told me the airsofl gun was part of his
 curriculum and he was using it for his semester exams. KAILIKOLE then told me that she will look in to it and get back to
 me if it fell within policy.

 On 04/21/16 at about 1115 hours. I responded back to the NS-147 building and met with Interim Dean KAILI KOLE.
 KAILIKOLE handed me a copy of the Palomar Community College District Procedure and under AP 3530 WEAPONS ON
 CAMPUS. (See attached copy.) KAILIKOLE p ointed out the section under Educational act1vihes involving firearms or other
 weap ons to be authorized by the Chief of Police before the activity take place. The airsoft gun utilized in NAKAJIMA's class
 was never approved by the Chief of Police.

 STATEMENTS·
 Statement of Victim/Witness Dallas BROWN:
 BROWN essentially told me that Professor NAKAJIMA brought out a pellet gun and load it with a rubber pellet. then handed it
 to a student and told the student not to miss and collect the BB after they shoot the paper. BROWN said she thought it was
 a BB gun because NAKAJIMA was calling the pellets BBs' . BROWN said there were no instructions as how to load the gun
 or how to use 11. BROWN sa1d there were no safety classes and the students did not know how to shoot the gun. There
 were students walking in the line of fire and no one was watch ng the door into the classroom for a while. BROWN said as
 the students shot their paper, the pellets would bounce off the wall and other students were attempting to catch the pellets .
 BROWN sa1d NAKAJIMA was in the class but he was talking With another instructor and not pay1ng attention to the students
 shooting. BROWN said she is very concerned with the lack of safety instructions while handling the gun.



                                                  Prepared By:
                                            OFFI\ER SO'OTO(I' Io SO 01'0 1

                             Sign l!tu.re                                                     R eviewed ~y/0~




                                                                                                             Ex. A, Page 257

                                                                                                                                  Exhibit 7
                                                                                                                                  P.5
    Case 3:18-cv-02877-AJB-MSB Document 18-1 Filed 04/17/19 PageID.2570 Page 74 of 84


    Cas~:;   Case 3:18-cv-fh1SO'o"l3&\JB-MSB Document 14-4 Filed 03/19/:f9 PageiD.2420 Page 259 of
     BROWN said she was h1t with a pellet that ricochets off one of the shots. BROWN said it dtd not hurt and she was not
     injured. BROWN does not desire prosecution.

     Statement of Witness Shelby FRIE NDS:
     FRIENDS told me they were conducting a rotational "inertia" lab as part of the calculations to pick a point of origin. FRIENDS
     said NAKAJIMA had the students use an airsoft gun "which he called a BB gun" . FRIENDS said NAKAJIMA would pull out
     the airsoft gun and load it, after making sure the class knew how the gun worked. He then cocked it and hand it to a student
I    po1nting the gun at the student in the process. NAKAJIMA would then leave the student to shoot the gun while he sat in the
     back of the class conversing with students and other professors and not paying attention to the transactions with the gun
     between the students. There was no safety lectures given on how to handle the gun or what not to do. FRIENDS said no
     student was required to wear safety glasses. FRIENDS said several students were almost shot due to the lack of any safety
     lecture.

     FRIE NDS also videotaped one of the airsoft lab exercises. FRIEN DS send the video to Interim Dean KALILIKOLE.I watched
     the video and saw the following :

     ~    A female student being coached by two students on how to shoot the a1rsoft gun
I    -
          A student standing by the main door and in the line of fire to prevent anyone entering class during the airsoft exercises
          A student siting to the left of the target . also in the line of fire and it appeared to be catching the spent rubber pellet and
     putting it back to a bucket or just on the desk
     -    NAKAJIMA was nowhere to be seen on the video
          No students on the video were weanng any protectiVe gear 1e: eye protection or body protection



     Statement of Instructor Takashi NAKAJIMA:
     NAKAJIMA told me he has been using the same a1rsoft gun for the last two years or more as part of his curriculum. The point
     of the airsoft is the students shoot at the paper target then they determined the point of ong1n on their paper targets. I asked
     NAKAJIMA if he knew about the policy of getting authorization from the Ch1ef of Police before using any weapon on campus
     and he said, "No I didn't". I asked NAKAJIMA if he conducts any safety 1nstrucllons pnor to usmg the a1rsoft and he said he
     just tell the students to point it towards the target and shoot. NAKAJIMA also said he has all the students stand behind the
     line oi fire. NAKAJIMA sa1d he does not require students to wear safety goggles .

     NAKAJIMA also showed me the other machine that he uses in his class to estimate veloctty. (See attached photo.) It is
     called the "Balistic Pertulum". It is a metal machine with about an inch in d1ameter of a metal ball attached to a long screw
     with a spring that when the trigger is pulled , the round metal ball would f1re forward while still attached to the screw and hit its
     point of rest on a metal catcher at the other side of the machine, which is about two feet in length. The metal ball never
     leaves or be separated from the machine.

     NAKAJIMA said the second part of the curriculum is the firing of the a1rsoft p1stol w1th rubber pellets in order for the student to
     determine its point of origin.

     INVESTIGATION:
     I took photos of the airsoft gun and the cabinet for where it IS stored. (See attached.) The airsoft is kept inside its original
     box and stored inside the bottom drawer of the instructor's desk . The drawer is unlocked.

     The airs oft gun is a P.169 Double Eagle Spring Airs oft Hand Gun. It shoots 6mm rubber pellets at 185 feet per second.

     Based on BROWN and FRIENDS statements and the v1deo, 11 appeared that it confirms the lack of any safety procedures
     and the lack of supervision by the lnstructor(s) during airsoft gun exercises.

     Pictures of the "Balistic Pertulum' was forwarded to KAILIKOLE.



                                                      Prepnred .By:
                                                OFI'I\Eil   ~O'OTOli'lo SO'IlTOI


                                   Signarure                                                            Reviewed By/Date                     ..:1


                                                                                                                        Ex. A, Page 258

                                                                                                                                                    Exhibit 7
                                                                                                                                                    P.6
    Case 3:18-cv-02877-AJB-MSB Document 18-1 Filed 04/17/19 PageID.2571 Page 75 of 84


     c ase r;   Case 3:18-cv-.flalaiilil:W.JB-MSB Document 14-4 Filed 03/19/~9       PageiD.2421 Page 260 of
    ( INJURIES.
      None


      EVIDENCE
      A copy of the v1deo 10 be placed 1nto the ev1dence room for safekeep1ng .

      PROPERTY DAMAGE:
      None.




l
                                   -               Prepared By:                                      Submi tted Date -
                                              OITI(TH so·oTO(PI<• so·oTOt                              U-l11120 16 111S


                                 Siguatut·e                                       Reviewed By/Date




                                                                                              Ex. A, Page 259

                                                                                                                          Exhibit 7
                                                                                                                          P. 7
Case 3:18-cv-02877-AJB-MSB Document 18-1 Filed 04/17/19 PageID.2572 Page 76 of 84




                           EXHffiiT8
Case 3:18-cv-02877-AJB-MSB Document 18-1 Filed 04/17/19 PageID.2573 Page 77 of 84




                                                               1140 West Mission Road                Q
                                                             San Marcos, CA 92069-1487                     o~
                                                                                                                ~y

                                   CONFIDENTIAL                     MEMORANDUM

 Date:    December 14. 2017

 To:      Kathryn Kailikole, Dean, Mathematics and the Natural and Health Sciences                              .Lf '\
 From: lisa Norman, Ed.D., J.D., Assistant SuperintendenWice President, Human Resource Services~"~

 RE:      Administrative Leave Pending Personnel Investigation


 A personnel investigation has been initiated and you are included in the focus of the investigation. The investigation
 concerns allegations of misconduct involving a breach of confidentiality. Effective immediately, pending the outcome of the
 investigation, you are hereby placed on administrative leave with full pay and benefits until further notice.

 During your administrative leave, you are not permitted to return to work or otherwise be at any District location unless you
 receive specific permission to be at a District location by me or my designee. Unless I or my designee authorize you in
 advance to do so, you are to have no written, oral, or electronic communications with any District employee or student,
 except me, my designee, and your representative.

 Further, while you are on administrative leave, your District email account (kkailikole@palomar.edu) will be inaccessible to
 you. Accordingly, please provide me with your personal cell phone number and personal email account so we can maintain
 communication while you are on administrative leave. During the leave, please respond to our inquiries in a reasonably
 prompt manner.

 You are required to turn in all District-issued equipment. including your District parking permit keys, and all electronic
 devices, today. If you have personal property you need to retrieve from your office, notify me of the specific items and District
 personnel will retrieve it and contact you when it is ready for you to retrieve.

 At some point in the future you will be interviewed regarding this matter. The date, location, and other details of the interview
 have not yet been determined. You will be notified in advance of these details when they become available. During your
 interview, you may have a representative with you. You are directed to cooperate with the interviewer and to be truthful in
 your responses. Additionally, you are not to retaliate in any fashion against anyone who may participate in the upcoming
 investigation or anyone whom you suspect may participate in an upcoming investigation.

 I acknowledge receipt of this memorandum.



                                                                     December 14. 2017
 Employee Signature (Kathryn Kailikole)                              Date




                                                                                                                                 Exhibit 8
                                                                                                                                 P. I
    Case 3:18-cv-02877-AJB-MSB Document 18-1 Filed 04/17/19 PageID.2574 Page 78 of 84




'




                               EXIDBIT9
Case 3:18-cv-02877-AJB-MSB Document 18-1 Filed 04/17/19 PageID.2575 Page 79 of 84



                                   :1'.-•!Cif"4~-
                        .·,,...            ,~
                                           "it

     *      ;
 PALOMAR COLLEGE®
                                              ~-




                                                              1140 West Mission Road, San Marcos, California 92069-1487 • 760-744-1150 • www.palomar.edu
   Learning for Sue~/·
      •              .....e:.~··
       ·:::.-:c.-v..s~'"
                                                    February 22, 2018
      Joi Lin Blake, Ed.D.
     Superintendent/President


                                                    PERSONAL AND CONFIDENTIAL
       Governing Boud
                                                    VIA EMAIL
          Nina Deerfield
         Mark R. Evilsizer
      John J. Hatc6n. Ph.D.                         Dr. Kathryn .Kailikole
       Nancy AM Hensch                              P.O. Box 308
        Paul P. McNamara                            Suisun Cit)', CA 94585-0308
          Studenc Trustoo:
           ASG President                            Re: Retaliation Complaint
    Office of the President
                                                    Dear Dr. Kailikole:

                                                    This letter is in response to emails from your counsel, Evan Dwin, dated
                                                    February 20 and 21,2018, stating that you believe you were placed on paid
                                                    administrative leave by the Distric~ and are under investigation, in retaliation for
                                                    reporting unlawful conduct by two professoiS in the Jlhysics and Engineering
                                                    Department, including displaying sexually explicit and racist images in the
                                                    laboratory.

                                                    Your complaint is being processed under the District's Unlawful Disaim.ination
                                                    Complaint Procedures. (Attachment 1.) Please note that the complaint
                                                    procedures require that forma) written complaints of unlawful discrimi.oation,
                                                    harassment and/ or retaliation against the District must be filed on a form
                                                    prescribed by the California Community Colleges Chancellor's Office. Attached
                                                    is the fonn for filing a formal written complaint. (Attachment 2.) Please
                                                    complete the form and retu.m to the District's Human Resource Services office.
                                                    The timeline for rendering an administra U\'e detenninarion following receipt of a
                                                    written complaint is ninety (90) days.

                                                    An assessment of the accuracy of the allegations has not yet been made. The
                                                    District has appointed an outside investigator to conduct an investigation
                                                    regarding the allegations in your complaint. The in\"estigator will investigate your
                                                    allegations of retaliation as part of the currently pending investigation. You will
                                                    be contacted to schedule an intenriew. You have the right to have a
                                                    representative of your choosing at your interview, however, should you choose
                                                    to have representation, please be advised that the District will not pay for the
                                                    cost of such. It is the District's understanding that you are represented by
                                                    attomey Evan Dwin and that Mr. DwiJl will attend your interview(s). Please be
                                                    advised that confidentiality is necessary to protect the integrity of the
                                                    investigation.




                                                                                                                                                       Exhibit 9
                                                                                                                                                       P. I
Case 3:18-cv-02877-AJB-MSB Document 18-1 Filed 04/17/19 PageID.2576 Page 80 of 84


      J>r. K.o11~11 1\uilil.:dt
      l·tbntr.f!J J], 1111.'1
      ,,llJtl fJ/ 2



      Please note that the District may undertake efforts to informally resolve the complaint, howe-ver,
      you are not required to participate in any informal resolution, nor will you be required to confront,


                                                                                                               J
      or work out problems with, person accused of unlawful retaliation

      District policy and applicable law prohibir retaliation against any employee for filing a complaint of
      unlawful discrimination/harassment and/ or for participating in any manner in an investigation
      thereof. Please infonn me inuncdiately if you are subject to any retaliatory action.

      Please be advised that you may also f.tle a charge of retaliation with dte Equal Emplo}•ment
      Opportunity Commission located in San Diego or \vith the California Department of Fair
      Employment and Housing at www.dfeh.ca.gov.

      Regards,


      ~[.,~
      Shawna Cohen
      1\{anager, Equal Employment Opportunity and Compliance
      and Deputy Title IX Coordinator

      Cc: Evan Dwin, Auomey (\-ia email: edwin@dwinlegal.com)

      Enclosures:

      1. District7s Unlawful Discrimination Complaint Procedures
      2. District's Complaint Fonn




                                                                                                               Exhibit 9
                                                                                                               P.2
Case 3:18-cv-02877-AJB-MSB Document 18-1 Filed 04/17/19 PageID.2577 Page 81 of 84




                         EXHIBIT 10·
Case 3:18-cv-02877-AJB-MSB Document 18-1 Filed 04/17/19 PageID.2578 Page 82 of 84




                     ,~:,.'!r.lf
                  ,.,.
                                ·:. . :.
             *'
   PALOMAR COLLEGE®                 .            1140 Wesc Mission R.oad. San Marcos. Callfomia 92069-1487 • 760-744-1150 • www.paJomar.ecfu


     ~                                     February 26, 2018
       Jol Un Blake, l!d.D.
      SaperintendendPrelfdent              PERSONAL & CONFIDENTIAL

                                           DEUVERY BJ EMAIL AND BEGULAR U.S. MAIL
         Govemfag Board
           Nina Deerfield
                                           Dr. Kathryn Kalllkole
          l1uic R. Evflsizcr
        John J. Hafc6n. Ph.D.              P.O. Box308
         Nanq AM Hensch                    Sutsan City, CA 94585-0308
         Paul P. HcNatnarD
          Sasdent Tnmee:                   Re:      Twenty-Four (24) Hour Notice Pursuant to Government Code§ 54957
           ASG Proslclaac

                                           Dear Dr. Kallikole:
      Office of lho President

                                           This letter constitutes formal notice that the Governing Board of tJle Palomar
                                           COmmunity College District ("District") will consider, pursuant to Education
                                           Code Section 72411 and Section 2 of your employment contract, whether to
                                           non-renew your employment contract as Dean, Instructional, Mathematics and
                                           the Natural and Health Sciences.

                                           The possible Board action is scheduled to take place during a closed session of
                                           the Governing Board on February 27, 2018, at approximately 5:00p.m., at the
                                           District's Governing Board room, SSC-1, Student Services Building, located at
                                           1140 West Mission Road, San Marcos, california, 92069.

                                           Pursuant to Government Code section 54957, you may request that the matter
                                           be heard In an open session rather than a closed session. lf you want the
                                           matter to be heard in an open session rather than a closed session, you must
                                           make this request in writing to me so that I actually receive It no later than
                                           February 27, 2018, at 10:00 a.m. At either a closed session or an open session,
                                           you and/or your representative will have the opportunity to present any oral or
                                           written statements and any other Information that you believe appropriate,
                                           but the session will not be a formal evidentiary hearing within the meaning of
                                           California Code of av11 Procedure § 1094.5.

                                           If you have any questions, please contact me.

                                           Since~'ly,

                                           .:---J?tyJC)h,._..)
                                           Usa Norman, Ed.D., J.D.
                                           Assistant Superintendent/Vice President, Human Resource Services
                                           PALOMAR COMMUNITY COLLEGE DISTRICT

                                           cc: Evan Dwin, Attorney (by email edwin@dwinlegal.com)



                                                                                                                                               Exhibit 10
                                                                                                                                               P. 1
Case 3:18-cv-02877-AJB-MSB Document 18-1 Filed 04/17/19 PageID.2579 Page 83 of 84




                          EXIDBIT 11
Case 3:18-cv-02877-AJB-MSB Document 18-1 Filed 04/17/19 PageID.2580 Page 84 of 84




            '*</..,
 PALOMAR COLLEGE®                            1140 West Mission Road, San Marcos. California 92069-1487 • 760-744-1150 • www.palomar.edu
   Learning for Success - '
       \/
       '\,:\?~·
                                February 28,2018
      Jol Lin Blafco, Eci.D.
     SupcrlncendentiPresidenc   PERSONAL AND CONFIDENTIAL

                                BY CERTIFIED MAIL
        GovomlngBoard
          Nina Docrf"eeld       D~  tcathrynJCailikole
          Mark R. Evllsfzer     P.O. Box 308
       john J. Halc6n. Ph.D.    Suisun City, CA 94585-308
        Nancy Ann Hensch
         Paul P. McNamara       Re: Notice of Non-Renewal of Administrator Employment Contract
          Student Truscce:          Termination of Employment EO"ectiveJuly 1, 2019
           ASG Ptosldant
                                Dear Dr. .Kailikole:
     Office of the President
                                Please be advised that, pursuant to California Education Code Section 72411, a copy of
                                which is attached, and the terms of your employment contract, the Governing Board of
                                the Palomar Community College Distric~ at its February 27,2018, meeting, directed that
                                you be sent official notice d1.1t it has determined that you shall not be ~eemployed or
                                reappointed as the Dean, Instructional. Mathematics and the Natw:al and Health
                                Sciences for the 2019-2020 academic )'ear. Your employment with the District will
                                therefore terminate effective July 1, 2019.

                                Sincerely,


                                p. ('· <2, ~                G.!--a.---
                                Lisa Norman, Ed.D.,J.D.
                                Assistant Superintendent/Vice President, Human Resource Services

                                Enclosure




                                                                                                                                    Exhibit 11
                                                                                                                                    P. 1
